             Case 23-10961-BLS   Doc 260-1   Filed 09/01/23   Page 1 of 52




                                    EXHIBIT A
                                  (Proposed Order)




00057159.4
                 Case 23-10961-BLS                 Doc 260-1           Filed 09/01/23           Page 2 of 52




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

 In re:
                                                                     Chapter 11
 WILLIAMS INDUSTRIAL SERVICES
 GROUP INC., et al.,1                                                Case No. 23-10961-BLS

                                                                     (Jointly Administered)
             Debtors.
                                                                     Re. Docket No. ______

  ORDER (I) AUTHORIZING EMPLOYMENT AND RETENTION OF MOSS ADAMS
   LLP AS ACCOUNTANTS TO THE DEBTORS AND DEBTORS IN POSSESSION,
   EFFECTIVE AS OF PETITION DATE, AND (II) GRANTING RELATED RELIEF

          Upon the application (the “Application”)2 of the Debtors for entry of an order (a) authorizing

the employment and retention of Moss Adams, as accountant to the Debtors, effective as of the

Petition Date, under the terms of the Engagement Letters, as modified by the Application, a copy of

which is attached to the Application as Exhibit C, and (b) granting related relief, all as more fully

set forth in the Application; and this Court having reviewed the Application and the Gonzalez

Declaration; and this Court having jurisdiction to consider the Application and the relief requested

therein in accordance with 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference

from the United States District Court for the District of Delaware, dated February 29, 2012; and this

Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2) and that this

Court may enter a final order consistent with Article III of the United States Constitution; and this

Court having found that venue of this proceeding and the Application in this district is proper



1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification number, include:

Williams Industrial Services Group Inc. (1378), Williams Industrial Services Group, LLC (2666), Williams Industrial Services,
LLC (0406), Williams Plant Services, LLC (9575), Williams Specialty Services, LLC (9578), WISG Electrical, LLC (6918),
Construction & Maintenance Professionals, LLC (0925), Williams Global Services, Inc. (3708), Steam Enterprises, LLC (9177),
GPEG LLC (5707), Global Power Professional Services, Inc. (2550), WISG Canada Ltd. (B.N. 6518), WISG Nuclear Ltd. (B.N.
3510), and WISG Electrical Ltd. (B.N. 2116). The location of the Debtors' corporate headquarters and service address is: 200
Ashford Center N, Suite 425, Atlanta, GA 30338.
2 Capitalized terms used but undefined herein have the meanings ascribed in the Application.




00057159.4                                                       1
              Case 23-10961-BLS        Doc 260-1      Filed 09/01/23     Page 3 of 52




pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing that proper and adequate notice of the

Application has been given and that no other or further notice is necessary; and this Court having

found, based on the representations made in the Application and the Gonzalez Declaration, that Moss

Adams is a “disinterested person” as such term is defined under section 101(14) of the Bankruptcy

Code; and it appearing that the employment of Moss Adams is in the best interests of the Debtors,

their estates, and creditors; and this Court having found that the terms and conditions of Moss

Adams’ employment set forth in the Engagement Letters (including the fee and expense structure),

as modified by the Application, are reasonable as required by section 328(a) of the Bankruptcy Code;

and upon the record herein; and after due deliberation thereon; and this Court having determined that

there is good and sufficient cause for the relief granted in this Order, therefore, IT IS HEREBY

ORDERED THAT:

         1.    The Application is granted to the extent set forth herein.

         2.    All objections to the entry of this Order, to the extent not withdrawn or settled, are

overruled.

         3.    The Debtors are authorized to retain and employ Moss Adams as accountant to the

Debtors, effective as of the Petition Date, under the terms of the Application and the Engagement

Letters, as modified by this Order.

         4.    None of the fees payable to Moss Adams shall constitute a “bonus” or fee

enhancement under applicable law.

         5.    The Debtors are authorized to compensate and reimburse Moss Adams consistent

with the terms of the Engagement Letters, as modified by the Application, subject to the procedures

set forth in the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and any other applicable

orders of this Court, provided, however, that Moss Adams shall not seek reimbursement for any




00057159.4                                       2
                Case 23-10961-BLS       Doc 260-1     Filed 09/01/23      Page 4 of 52




attorneys’ fees or expenses for the defense against any formal objection to its fee applications filed

in the Chapter 11 Cases.

         6.      The requirements of the Bankruptcy Code, the Bankruptcy Rules, and Local

Bankruptcy Rule 2016-2 are hereby modified such that Moss Adams’ accountants who provide

services to the Debtors (with the exception of personnel in administrative departments, including

legal, who shall not be required to keep time records) shall only be required to maintain summary

time records in one hour increments and shall not be required to conform to any schedules of

hourly rates.

         7.      To the extent requested in the Application, Moss Adams is granted a waiver with

respect to the information requirements contained in Local Rule 2016-2(d).

         8.      Moss Adams is authorized to provide the Debtors with the professional services

described in the Application.

         9.      Moss Adams shall use its reasonable best efforts to avoid any duplication of

services provided by any of the Debtors’ other retained professionals in the Chapter 11 Cases.

         10.     Notwithstanding anything in the Engagement Letters to the contrary, this Court

shall retain jurisdiction over any and all matters arising under or in connection with Moss Adams’

engagement by the Debtors and the Engagement Letters.

         11.     Moss Adams shall file fee applications for monthly, interim, and final allowance of

compensation and reimbursement of fees and expenses pursuant to the procedures set forth in

sections 330 and 331 of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, the U.S.

Trustee Guidelines, and any other applicable procedures established by this Court; provided, that

Moss Adams’ compensation shall be subject to the standard of review provided in section 328(a)




00057159.4                                        3
               Case 23-10961-BLS       Doc 260-1      Filed 09/01/23     Page 5 of 52




of the Bankruptcy Code and not subject to any other standard of review, including under section

330 of the Bankruptcy Code.

         12.    Notwithstanding the preceding paragraph, the Office of the United States Trustee

for the District of Delaware (the “U.S. Trustee”) and this Court shall retain the right to object to

the compensation and fees and expenses to be paid to Moss Adams pursuant to the Application

and the Engagement Letters, including, without limitation, the Monthly Fee, based on the

reasonableness standard provided for in section 330 of the Bankruptcy Code, and this Court shall

consider any such objection by the U.S. Trustee under section 330 of the Bankruptcy Code.

         13.    Moss Adams shall include in its monthly, interim, and final fee applications, among

other things, time records setting forth, in a summary format, a description of the services rendered

by Moss Adams and the amount of time spent by each such individual in rendering services on

behalf of the Debtors in one hour increments, but Moss Adams shall be excused from keeping time

in tenth-hour increments.

         14.    Notwithstanding anything in the Application, Engagement Letters, or the Gonzalez

Declaration, to the contrary, to the extent the Debtors wish to expand the scope of Moss Adams’

services beyond those services set forth in the Application, the Debtors shall be required to seek

further approval from this Court. Notwithstanding anything in the Application, the Engagement

Letters, or Gonzalez Declaration to the contrary, Moss Adams shall (a) to the extent that Moss

Adams uses the services of independent contractors, subcontractors, or employees of foreign

affiliates or subsidiaries (collectively, the “Contractors”) in the Chapter 11 Cases, pass-through

the cost of such Contractors to the Debtors at the same rate that Moss Adams pays the Contractors,

(b) in addition to the expenses permitted in the Engagement Letters, seek reimbursement for travel




00057159.4                                       4
               Case 23-10961-BLS       Doc 260-1     Filed 09/01/23      Page 6 of 52




costs only, (c) ensure that the Contractors are subject to the same conflict checks as required for

Moss Adams, and (d) file with this Court such disclosures required by Bankruptcy Rule 2014.

         15.    In the event that, during the pendency of the Chapter 11 Cases, Moss Adams seeks

reimbursement for any attorneys’ fees or expenses, the invoices and supporting time records from

such attorneys, appropriately redacted to preserve applicable privileges, shall be included in Moss

Adams’ fee applications and such invoices and time records shall be in compliance with the Local

Rules, and shall be subject to the U.S. Trustee Guidelines and approval of this Court under the

standards of Bankruptcy Code sections 330 and 331, without regard to whether such attorney has

been retained under Bankruptcy Code section 327; provided, that Moss Adams shall not seek

reimbursement from the Debtors’ estates for any attorney’s fees incurred in defending against

objections to any of Moss Adams’ fee applications filed in the Chapter 11 Cases.

         16.    To the extent that there is any inconsistency between the terms of the Application,

the Gonzalez Declaration, the Engagement Letters, and this Order, the terms of this Order shall

govern.

         17.    The Debtors are hereby authorized to take such actions and to execute such

documents as may be necessary to implement the relief granted by this Order in accordance with

the Application.

         18.    Notwithstanding the possible applicability of Bankruptcy Rule 6004, 7062, or

9014, this Order shall be effective and enforceable upon entry hereof.

         19.    The relief granted herein shall be binding upon any chapter 11 trustee appointed in

the Chapter 11 Cases, or upon any chapter 7 trustee appointed in the event of a subsequent

conversion of the Chapter 11 Cases to cases under chapter 7.




00057159.4                                       5
               Case 23-10961-BLS       Doc 260-1      Filed 09/01/23     Page 7 of 52




         20.    This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.




00057159.4                                        6
                   Case 23-10961-BLS   Doc 260-1     Filed 09/01/23   Page 8 of 52




                                           EXHIBIT B
                                       (Gonzalez Declaration)




00057159.4
4864-5382-1296.6
                   Case 23-10961-BLS               Doc 260-1           Filed 09/01/23           Page 9 of 52




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

 In re:
                                                                    Chapter 11
 WILLIAMS INDUSTRIAL SERVICES
 GROUP INC., et al.,1                                               Case No. 23-10961- BLS

                                                                    (Jointly Administered)
           Debtors.



      DECLARATION OF PEDRO GONZALEZ IN SUPPORT OF DEBTORS
  APPLICATION FOR ENTRY OF AN ORDER (I) AUTHORIZING EMPLOYMENT
 AND RETENTION OF MOSS ADAMS LLP AS ACCOUNTANTS TO THE DEBTORS
  AND DEBTORS IN POSSESSION, EFFECTIVE AS OF PETITION DATE, AND (II)
                     GRANTING RELATED RELIEF

          I, Pedro Gonzalez declare, pursuant to 28 U.S.C. § 1746, under penalty of perjury that:

          1.        I am Partner at Moss Adams LLP (“Moss Adams”), a leading accounting firm,

which has its principal office at 999 Third Avenue Suite 2800, Seattle, WA 98104. Moss Adams

is the proposed accountant and auditor to the above-captioned debtors and debtors in possession

(the “Debtors”).

          2.        I am duly authorized to make this declaration (the “Declaration”) on behalf of Moss

Adams in support of the Debtors’ Application of Debtors for Entry of Order (I) Authorizing

Employment and Retention of Moss Adams LLP as Accountants, Effective as of Petition Date, and

(II) Granting Related Relief (the “Application”)2 seeking authorization to retain Moss Adams as




1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification number, include:

Williams Industrial Services Group Inc. (1378), Williams Industrial Services Group, LLC (2666), Williams Industrial Services,
LLC (0406), Williams Plant Services, LLC (9575), Williams Specialty Services, LLC (9578), WISG Electrical, LLC (6918),
Construction & Maintenance Professionals, LLC (0925), Williams Global Services, Inc. (3708), Steam Enterprises, LLC (9177),
GPEG LLC (5707), Global Power Professional Services, Inc. (2550), WISG Canada Ltd. (B.N. 6518), WISG Nuclear Ltd. (B.N.
3510), and WISG Electrical Ltd. (B.N. 2116). The location of the Debtors' corporate headquarters and service address is: 200
Ashford Center N, Suite 425, Atlanta, GA 30338.
2 Capitalized terms used but undefined herein have the meanings ascribed in the Application.




00057159.4
4864-5382-1296.6
                 Case 23-10961-BLS              Doc 260-1          Filed 09/01/23           Page 10 of 52




the Debtors’ accountant on the terms, and subject to the conditions, set forth therein and in the

Engagement Letters.

            3.      Unless otherwise stated in this Declaration, I have personal knowledge of the facts

set forth herein and, if called as a witness, I would testify thereto.3

                                         SERVICES TO BE PROVIDED

            4.      Pursuant to the Engagement Letters, the Company (as defined in the Engagement

Letters) has requested that Moss Adams render the following professional services in connection

with the Chapter 11 Cases:


       a.        On or about May 4, 2023, Moss Adams and the Company executed an engagement
                 letter (“Audit Engagement”) for: (i) the audit of the Debtors’ consolidated balance
                 sheets as of December 31, 2023 and related statements; and (ii) the review of the
                 quarterly consolidated balance sheets and related statements for year 2023, and fourth
                 quarter information that is required by Regulation S-K, Item 302(a) in accordance with
                 standards of the Public Company Accounting Oversight Board (United States);

       b.        On or about July 10, 2023, the Moss Adams and the Company executed an engagement
                 letter (the “Review Engagement”) for the review of the Company’s condensed
                 consolidated balance sheet of the Company as of June 30, 2023, and the related
                 condensed consolidated statements for the three and six months then ended June 30,
                 2023 (“interim financial information”) in accordance with Public Company
                 Accounting Oversight Board (“PCAOB”) Auditing Standards No. 4105, Reviews of
                 Interim Financial Information;

       c.        Moss Adams and the Company are the in the process of executing an engagement letter
                 (the “Examination Engagement”) for the examination of the payroll extract of
                 Richmond County Constructors, LLC (“RCC”) Loaned Employees stating the amount
                 of additives under billing of Williams Industrial Services Group, Inc. as of and for the
                 period ended December 31, 2022. The examination is to be conducted in accordance
                 with the attestation standards established by the American Institute of Certified Public
                 Accountants;

       (each a “Service” and together, the “Services”).4



3 Certain of the disclosures set forth herein relate to matters not within my personal knowledge but are within the knowledge of

other Moss Adams employees and are based on information provided to me by them.
4 Terms used but undefined in this paragraph have the meanings ascribed in the Engagement Letters.




00057159.4                                                     2
                 Case 23-10961-BLS                Doc 260-1          Filed 09/01/23           Page 11 of 52




            5.      To the extent that the Debtors request that Moss Adams perform additional services

not contemplated by the Application, such services and the fees for such services will be mutually

agreed upon by Moss Adams and the Debtors, in writing, and will be subject to Court approval.

            6.      I believe that Moss Adams is well qualified and able to provide the foregoing

services to the Debtors.

                                      PROFESSIONAL COMPENSATION

            7.      Moss Adams’ decision to provide services to the Debtors in the Chapter 11 Cases

is subject to its ability to be retained in accordance with the terms of the Engagement Letters, as

modified by this Application. In consideration of the services to be provided by Moss Adams, and

as more fully described in the Engagement Letters, subject to the Court’s approval, the Debtors

have agreed to pay the following compensation to Moss Adams:5

       a.        Pursuant to the Audit Engagement, the Debtors will pay fees in the estimated amounts
                 of: (i) $40,000 for SAS 100 reviews each quarter; and (ii) $350,000-$360,000 for the
                 audit of consolidated financial statements.

       b.        Pursuant to the Review Engagement, the Debtors will pay hourly fees according to the
                 following professional rates:

                                                                     FEES
                        Staff Level                                                       Hourly Rate
                       Partner (Engagement Reviewer)                                     $600
                       Partner (Engagement Quality Reviewer)                             $735
                       Partner (Other)                                                   $525
                       Manager                                                           $305
                       Senior Staff Member                                               $255 – $280
                       Staff Member                                                      $215 – $225

       c.        Pursuant to the Examination Engagement, the Debtors will pay hourly fees according
                 to the following professional rates:



5 To the extent there are any inconsistencies between this Application and the Engagement Letters, this Application controls unless

otherwise stated. All capitalized terms in paragraph 14 of the Application not otherwise defined in said paragraph have the meanings
ascribed to such terms in the Engagement Letters.



00057159.4                                                       3
               Case 23-10961-BLS       Doc 260-1      Filed 09/01/23    Page 12 of 52




                                                      FEES
                          Staff Level                                     Hourly Rate
                     Partner                                             $600
                     Manager                                             $305
                     Senior Staff Member                                 $255

         8.      The Debtors provided a deposit in the amount of $125,000 on January 17, 2023,

against which fees and expenses for services performed are billed. The deposit is replenished upon

receiving invoices.

         9.      In addition to these fees, Moss Adams will charge a flat expense charge, calculated

as five percent (5%) of fees, to cover expenses such as copying costs, postage, administrative

billable time, report processing fees, filing fees, and technology expenses. Travel expenses will be

billed separately and are not included in the 5% charge.

         10.     Notwithstanding anything to the contrary above or in the Engagement Letters, Moss

Adams will maintain time-keeping records in support of its compensation and travel costs and

expenses incurred in connection with rendering services to the Debtors. Moss Adams intends to

apply to the Court for the allowance of compensation and reimbursement of expenses for its services

in accordance with the applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the

Local Rules, the U.S. Trustee Guidelines, and any orders of the Court, including the order with

respect to the Application.

         11.     The Engagement Letters, as modified by the Application, and the compensation

contemplated therein are each consistent with and typical of compensation arrangements entered

into by Moss Adams in connection with the rendering of similar services under similar

circumstances and are the result of arm’s-length negotiations between the Debtors and Moss

Adams. Moss Adams believes that the terms and conditions in the Engagement Letters, as modified

by the Application, are in fact reasonable, and designed to compensate Moss Adams fairly for its



00057159.4                                        4
               Case 23-10961-BLS       Doc 260-1      Filed 09/01/23      Page 13 of 52




work and to cover fixed and routine overhead expenses. Moreover, the ultimate benefit to the

Debtors cannot be measured by reference to the mere number of hours to be expended by Moss

Adams’ professionals in the performance of services, but rather should be considered in the context

of Moss Adams’ valuable institutional knowledge of the Debtors’ businesses and financial affairs

obtained since November of 2017.

         12.     In the 90 days prior to the Petition Date, the Debtors paid Moss Adams $78,750 in

fees and expenses. As of the Petition Date, the Debtors did not owe Moss Adams any amounts for

services rendered before the Petition Date.

         13.     To the best of my knowledge, Moss Adams has not shared and will not agree to

share any of its respective compensation from the Debtors with any other person, other than as

permitted by section 504 of the Bankruptcy Code.

                          DISINTERESTEDNESS OF MOSS ADAMS

         14.     To the best of my knowledge, information and belief, as of the date hereof, Moss

Adams: (a) is a “disinterested person,” as such term is defined in section 101(14) of the Bankruptcy

Code and as is required under section 327(a) of the Bankruptcy Code and, as set forth in this

Declaration; (b) does not hold or represent an interest materially adverse to the Debtors’ estates;

and (c) has no connection to the Debtors, their creditors, shareholders, or other parties in interest,

except as disclosed in this Declaration and in Schedule 2 attached hereto.

         15.     Moss Adams obtained from the Debtors or its representatives the names of

individuals and entities that may be parties in interest in the Chapter 11 Cases (“Potential Parties in

Interest”), and such categories of parties are listed on Schedule 1.

         16.     Moss Adams has conducted a search of its electronic client databases for

relationships to determine its connections with the Potential Parties in Interest. As Moss Adams,




00057159.4                                        5
               Case 23-10961-BLS       Doc 260-1         Filed 09/01/23   Page 14 of 52




and not its affiliates, is the entity being retained by the Debtors, we have researched only the

electronic client data bases of Moss Adams, not of all its affiliates, to determine if Moss Adams has

connections with any Potential Parties in Interest, and Moss Adams makes no representation as to

the disinterestedness of its affiliates or their respective professionals or employees in respect to the

Chapter 11 Cases. To the best of my knowledge and belief, Moss Adams is not representing any

Potential Parties in Interest in connection with matters relating to the Debtors, their estates, assets,

or businesses relating to the Chapter 11 Cases, except as set forth herein and in the Connections to

Parties in Interest attached hereto as Schedule 2.

         17.     To the best of my knowledge and belief, based on the search of Moss Adams

electronic data bases as described above, neither Moss Adams nor I, nor any other employee of

Moss Adams that will provide services to the Debtors in connection with this engagement, has any

connection with or holds any interest adverse to the Debtors, its estates or the Potential Parties in

Interest, except (a) as set forth in Schedule 2 and (b) as otherwise set forth below:

         a.       Moss Adams is a large accounting firm and has likely provided services unrelated
                  to the Debtors for companies and individuals that have conducted business in the
                  past or currently conduct business with the Debtors, and who may be creditors of
                  the Debtors. To the best of my knowledge, information, and belief, Moss Adams’
                  services to these parties were and are wholly unrelated to the Debtors, their
                  estates, or the Chapter 11 Cases.

         b.       As part of its practice, Moss Adams provides services to clients in matters
                  involving many different professionals, some of which may represent claimants
                  and parties in interest in the Chapter 11 Cases. Furthermore, Moss Adams has in
                  the past and will likely in the future be working with or against other professionals
                  involved in the Chapter 11 Cases in matters unrelated to the Chapter 11 Cases.
                  Based on my current knowledge of the professionals involved, and to the best of
                  my knowledge and information, none of these business relationships represents
                  an interest materially adverse to the Debtors in matters upon which Moss Adams
                  is to be engaged.

         18.     To the best of my knowledge, information and belief, insofar as I have been able to

ascertain after reasonable inquiry, Moss Adams has not been retained to assist any entity or person



00057159.4                                           6
               Case 23-10961-BLS       Doc 260-1      Filed 09/01/23      Page 15 of 52




other than the Debtors on matters relating to, or in direct connection with, the Chapter 11 Cases.

Moss Adams will, however, continue to provide professional services to entities or persons that

may be creditors or equity security holders of the Debtors or interested parties in the Chapter 11

Cases; provided that such services do not relate to, or have any direct connection with, the Chapter

11 Cases or the Debtors.

         19.     I am not related or connected to, and, to the best of my knowledge, no other

professional of Moss Adams who will work on this engagement is related or connected to, any

United States Bankruptcy Judge for the District of Delaware or any employee in the Office of the

United States Trustee for the District of Delaware.

         20.     Moreover, insofar as I have been able to determine, no Moss Adams employee who

will work on this engagement holds or represents any interest adverse to the Debtors or their estates,

and Moss Adams is a “disinterested person” as such term is defined in Bankruptcy Code section

101(14), as modified by section 1107(b), in that such professionals:

                 a.     are not creditors, equity security holders, or insiders of the Debtors;

                 b.     were not, within two years before the date of filing of the Debtors’ chapter
                        11 petitions, a director, officer, or employee of the Debtors; and

                 c.     do not have an interest materially adverse to the interests of the Debtors’
                        estates or any class of creditors or equity security holders, by reason of
                        any direct or indirect relationship to, connection with, or interest in, the
                        Debtors, or for any other reason.

         21.     To the extent that Moss Adams discovers any additional facts bearing in a material

respect on its disinterestedness during the period of Moss Adams’ retention in connection with the

Chapter 11 Cases, Moss Adams will supplement this Declaration, as required by Bankruptcy Rule

2014(a).

         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.


00057159.4                                        7
             Case 23-10961-BLS   Doc 260-1   Filed 09/01/23   Page 16 of 52




Dated: August 31, 2023                              /s/ Pedro Gonzalez
                                                    Pedro Gonzalez
                                                    Partner




00057159.4                               8
               Case 23-10961-BLS     Doc 260-1     Filed 09/01/23     Page 17 of 52




                                        SCHEDULE 1
                                  Potential Parties in Interest


Debtors:
        Williams Industrial Services Group Inc.
        Williams Industrial Services Group, LLC
        Williams Industrial Services, LLC
        Williams Plant Services, LLC
        Williams Specialty Services, LLC
        WISG Electrical, LLC
        Construction & Maintenance Professionals, LLC
        Williams Global Services, Inc.
        Steam Enterprises, LLC
        GPEG LLC
        Global Power Professional Services, Inc.
        WISG Canada Ltd.
        WISG Nuclear Ltd.
        WISG Electrical Ltd.


Directors & Managers:
        Robert B. Mills (Chairman of the Board of Directors)
        David A. B. Brown (director)
        Steven D. Davis (director)
        Linda A. Goodspeed (director)
        Nelson Obus (director)
        Tracy D. Pagliara (President, CEO, and director)
        Mitchell I. Quain (director)
        Randall R. Lay (Executive Vice President, COO)
        Charles E. Wheelock (Senior Vice President, CAO, general counsel, and Secretary)
        Damien A Vassall (Vice President, CFO, and principal financial and accounting officer)
        Dawn A. Jenkins (Vice President, Human Resources)
        Michael Bruno (Executive Vice President of Business Development)
        Damien E. Mudd (Vice President of Power Operations)
        Charles Macaluso (former Chairman of the Board and Director)
        Terence J. Cryan (former President, CEO, and Director)
        Carl Bartoli (former director)
        David Keller (former director)
        Michael E. Rescoe (former director)
        Michael E. Salvati (former director)
        Gary J. Taylor (former director)
00057159.4
4864-5382-1296.6
             Case 23-10961-BLS       Doc 260-1     Filed 09/01/23   Page 18 of 52




        Luis Manuel Ramirez (former President, CEO, and director)
        Raymond K. Guba (former Senior Vice President and Chief Financial Officer)


Secured Lenders:
        PNC Bank, National Association
        EICF Agent LLC, as agent for the [Term] lenders
        CION Investment Corporation
        Energy Impact Credit Fund I LP
        Crowd Out Credit Opportunities Fund LLC


Top 30 Creditors:
        Retubeco
        United Rentals-Payment Center
        Kbh Solutions LLC
        Simkiss & Block
        Johnson Contractors, Inc.
        Augusta Industrial Services
        Cogburn Bros Inc
        Baumert Sas
        Dept Of Labor And Industries
        Herc Rentals
        Thompson Building Wrecking Co
        Martin Marietta Materials
        Bankdirect Capital Finance
        Sunbelt Rentals
        Ferguson Enterprises Inc
        Oleary Construction Inc
        Complete Service Well Drilling
        Ironside Developments LLC
        Ek Birken Masonry, Inc
        Kmc Construction Inc
        Clarion Electrical
        Hudson Elevator Group
        Hds White Cap Const Supply
        Eversource Energy
        International Plant SVCS LLC
        International Duros Steel
        Argos USA LLC
        Southeastern Systems Tech



00057159.4                                     2
             Case 23-10961-BLS         Doc 260-1   Filed 09/01/23   Page 19 of 52




        Verde Electric Corporation
        Harrington Ind Plastics LLC


Litigation Parties:
        Luis Omar Alvarez
        Champion Painting Specialty Services
        Fasciano, Charles
        Stout, Kyle
        Taverez, Carlos
        Inoa, Jose
        Inoa, Julio
        Enterprise Gas Processing LLC
        Jenness, Dorren
        McManus, Ryan
        Smith, Eric
        Loaisiga, Emilio
        Riley, Michael
        Riley, Anthony
        MEITEC, Inc.
        Pelican Island Storage Terminal (Apex Oil Co)
        Pelican Island Storage Terminal
        Oscar Baxin
        Victor Hernandez
        Strange, Shayla
        Kelly Powers


Leases:
        Ashford Office Center, LLC
        18-31 42nd Street Astoria, LLC
        Lan Darty Real Estate DBA D. Ream Properties
        Lane Land Development, LLC
        Associated Food Distributors Company
        Crescent Office Center, LP
        Odyssey Manufacturing Co.
        TexAz Commercial Properties, LLC


Utilities:
        18-27A 42nd Street Astoria LLC



00057159.4                                     3
             Case 23-10961-BLS     Doc 260-1    Filed 09/01/23   Page 20 of 52




        Frontier Communications
        Comcast
        Lane Land Development LLC
        ADT Security Services
        Verizon Wireless
        Wow! Internet Cable And Phone
        Granite Telecommunications LL
        Verizon Wireless

Taxing Authorities
        City of Dothan, AL
        Duval County Property Appraiser's Office, FL
        City of Dunwoody, GA
        Claiborne County Tax Assessor, MS
        Dept of Revenue, TN
        Town of West Point Treasurer, OH
        Department of Taxation, VA
        Alabama Department of Revenue
        New Hampshire Department of Revenue Administration
        Tennessee Department of Revenue
        Oregon Department of Revenue
        Arkansas Secretary of States
        Department of State, DE
        New York State Department of Taxation and Finance
        Oklahoma Tax Commission
        Texas Comptroller of Public Accounts
        Franchise Tax Board, CA
        Florida Department of Revenue
        Georgia Department of Revenue
        Louisiana Department of Revenue
        Minnesota Department of Revenue
        Missouri Department of Revenue
        Department of Revenue, MS
        North Carolina Department of Revenue
        New Mexico Taxation and Revenue Department
        NYC Department of Finance
        Utah State Tax Commission
        West Virginia State Tax Department
        U.S. Department of the Treasury
        Alaska Department of Revenue
        Department of Finance and Administration, AR


00057159.4                                  4
             Case 23-10961-BLS      Doc 260-1     Filed 09/01/23   Page 21 of 52




        Arizona Department of Revenue
        Colorado Department of Revenue
        Department of Revenue Services, CT
        Delaware Division of Revenue
        Iowa Department of Revenue
        Idaho State Tax Commission
        Illinois Department of Revenue
        Indiana Department of Revenue
        Kansas Department of Revenue
        Kentucky Department of Revenue
        Comptroller of Maryland
        Maine Revenue Services
        Michigan Department of Treasury
        Montana Department of Revenue
        Nebraska Department of Revenue
        State of New Jersey
        Chillicothe City Income Tax Dept., OH
        Pennsylvania Department of Revenue
        SC Department of Revenue
        U.S. Internal Revenue Service
        Virginia Department of Taxation
        Vermont Department of Taxes
        Canada Revenue Agency
        Ontario Workplace Safety and Insurance Board
        Ontario Employer Health Tax
        St. Lucie County Property Appraiser's Office, FL
        Dekalb County Property Appraisal, GA
        Shelby County Assesser of Property, TN
        Virginia King William County
        Washington Department of Revenue
        State Treasurer, CT
        Division of Unclaimed Property, FL
        State Treasurer, IL
        Department of Treasury - Unclaimed Property, MI
        Comptroller, State of New York
        Commonwealth of Pennsylvania
        Comptroller of Public Accounts - Unclaimed Property, TX
        Massachusetts Department of Revenue
        North Dakota Office of the State Tax Commissioner
        Wisconsin Department of Revenue




00057159.4                                    5
               Case 23-10961-BLS   Doc 260-1     Filed 09/01/23    Page 22 of 52




                                      SCHEDULE 2
                         Connections to Potential Parties in Interest

None Identified.




00057159.4
4864-5382-1296.6
               Case 23-10961-BLS   Doc 260-1   Filed 09/01/23   Page 23 of 52




                                       EXHIBIT C
                                   (Engagement Letters)




00057159.4
4864-5382-1296.6
DocuSign Envelope ID: 36B31A3B-CC6A-4C16-A822-723EFBBA0336
                         Case 23-10961-BLS            Doc 260-1      Filed 09/01/23      Page 24 of 52




              May 4, 2023

              Audit Committee
              c/o Mr. Robert Mills, Chair
              Williams Industrial Services Group, Inc.
              200 Ashford Center North, Suite 425
              Atlanta, Georgia 30338

              Re: Audit Services

              Dear Mr. Mills:

              This letter confirms our understanding of the terms and objectives of our engagement and the nature
              and limitations of the services we will provide. This Engagement Letter and the attached Professional
              Services Agreement, which is incorporated herein by this reference, represent the entire agreement
              regarding the services to be rendered by Moss Adams LLP to Williams Industrial Services Group, Inc.
              In order to better understand each party’s obligations, the terms “Moss Adams”, “we”, “us”, and “our”
              will identify Moss Adams LLP. The terms “you”, “your”, and “Company” will apply to Williams
              Industrial Services Group, Inc. and management of the Company.

              We will audit the consolidated balance sheets of Williams Industrial Services Group, Inc. as of
              December 31, 2023, and the related consolidated statements of operations, comprehensive income
              (loss), stockholders’ equity, and cash flows for the year then ended.

              We will review the consolidated balance sheets of Williams Industrial Services Group, Inc. as of the
              end of each of the four fiscal quarters, the related consolidated statements of operations,
              comprehensive income (loss), stockholders’ equity, and cash flows for the quarters then ended, and
              the fourth quarter information that is required by Regulation S-K, Item 302(a) in accordance with
              standards of the Public Company Accounting Oversight Board (United States).

              As additional conditions of our engagement the Company and the Audit Committee agree to:

                   1) Promptly notify us of all Exchange Act reports (such as Form 8-K) whether we have or have
                      not performed any professional work in connection with the filing.
                   2) Obtain our consent for each 1933 Securities Act Filing and each amendment, for each
                      amended 1934 Act filing, and for each non-registered offering of securities where our report
                      is included or incorporated by reference in the offering document.
                   3) Promptly provide us with a copy of any correspondence to or from the SEC and state
                      securities regulators.
                   4) Provide us with any proposed earnings release in a timely manner prior to publication.

              We are under no obligation to re-issue our report or provide consent for the use of our report at a
              later date.
DocuSign Envelope ID: 36B31A3B-CC6A-4C16-A822-723EFBBA0336
                         Case 23-10961-BLS            Doc 260-1      Filed 09/01/23       Page 25 of 52


                                                                                                             Audit Committee
                                                                                                   c/o Mr. Robert Mills, Chair
                                                                                      Williams Industrial Services Group, Inc.
                                                                                                                 May 4, 2023
                                                                                                                  Page 2 of 4




              Timing
              Pedro Gonzalez is responsible for supervising the engagement and authorizing the signing of our
              report. We expect to begin our audit in August 2023 and issue our report no later than March 31,
              2024. As we reach the conclusion of the audit, we will coordinate with you the date the audited
              consolidated financial statements will be issued. You understand that you will be required to consider
              subsequent events through the date the consolidated financial statements are issued which will
              coincide with the date of the management representation letter and the date of the audit report.

              We anticipate that field work will end in approximately February or March 2024 unless unforeseen
              circumstances arise. If unforeseen difficulties occur which make meeting the March 31, 2024,
              improbable, we will inform you and the Audit Committee immediately. Our ability to meet these
              targets will be dependent, in part, on the level of preparation and cooperation by your staff.

              Our scheduling is based on your completion of the year-end closing and/or adjusting process prior to
              our arrival to begin the fieldwork. Efficient use of our staff benefits both you and Moss Adams,
              allowing for timely completion of our work. Delays in rendering services may occur due to the
              availability of your staff or delays in your closing and adjusting process. We will work with you to
              coordinate completion of our work, realizing that any such delays will also delay completion of our
              work and the delivery of our work product. If delays are caused by your Company’s delay in
              preparation for the audit, our fees are subject to adjustment to compensate us for inefficiencies in our
              scheduling and completion of the work. Our services will be concluded upon delivery to the Audit
              Committee of our report on your consolidated financial statements for the year ending December 31,
              2023.

              Fees
              We estimate that our fees for the audit and review services will be as follows:

                      SAS 100 reviews (per quarter)            $30,000–$40,000

                      Audit*                                   $350,000–$360,000

                       *Please note preliminary estimate is to be updated during 2023.

              In addition to fees, we will charge you for expenses. Our invoices include a flat expense charge,
              calculated as five percent (5%) of fees, to cover expenses such as copying costs, postage,
              administrative billable time, report processing fees, filing fees, and technology expenses. Travel
              expenses will be billed separately and are not included in the 5% charge.
DocuSign Envelope ID: 36B31A3B-CC6A-4C16-A822-723EFBBA0336
                         Case 23-10961-BLS            Doc 260-1      Filed 09/01/23       Page 26 of 52


                                                                                                             Audit Committee
                                                                                                   c/o Mr. Robert Mills, Chair
                                                                                      Williams Industrial Services Group, Inc.
                                                                                                                 May 4, 2023
                                                                                                                  Page 3 of 4




              Our ability to provide services in accordance with our estimated fees depends on the quality,
              timeliness and accuracy of the Company’s records, and the number of general ledger adjustments
              required as a result of our work. To assist you in this process, we will provide you with a Client Audit
              Preparation Schedule that identifies the key work you will need to perform in preparation for the audit.
              We will also need your accounting staff to be readily available during the engagement to respond in a
              timely manner to our requests. Lack of preparation, poor records, general ledger adjustments and/or
              untimely assistance will result in an increase of our fees.

              Any billing under this agreement not paid within 30 days of the invoice date will bear interest at the
              rate of 1% (12% per annum) per month on any unpaid balance.

              Management of the Company or the Audit Committee may request that we perform additional
              services not contemplated by this Engagement Letter. If this occurs, we will communicate with the
              Audit Committee regarding the scope of the additional services and the estimated fees, and request
              advance approval from the Audit Committee prior to beginning work. It is our practice to issue a
              separate Engagement Letter covering additional services.

              This letter and the attached Professional Services Agreement constitute the entire agreement and
              understanding between Moss Adams LLP and the Company. The Company agrees that in entering
              into this agreement that it is not and has not relied upon any oral or other representation, promise or
              statement made by anyone that is not set forth herein.

              We appreciate the opportunity to be of service to you. If you agree with the terms of our engagement,
              please sign the enclosed copy of this letter, and return it to us.

              Very truly yours,




              Pedro Gonzalez
              Partner for
              Moss Adams LLP

              Enclosures
DocuSign Envelope ID: 36B31A3B-CC6A-4C16-A822-723EFBBA0336
                          Case 23-10961-BLS           Doc 260-1     Filed 09/01/23       Page 27 of 52


                                                                                                            Audit Committee
                                                                                                  c/o Mr. Robert Mills, Chair
                                                                                     Williams Industrial Services Group, Inc.
                                                                                                                May 4, 2023
                                                                                                                 Page 4 of 4




              Accepted and Agreed:
              This Engagement Letter and the attached Professional Services Agreement set forth the entire
              understanding of Williams Industrial Services Group, Inc. with respect to the services to be provided
              by Moss Adams LLP:



              Authorized Signature:                               \ASAC1n\

              For the Audit Committee of Williams Industrial Services Group, Inc.



              Date:

              Acknowledged:

              I acknowledge the responsibilities and obligations of management and the Company in this letter and
              the attached Professional Services Agreement:



              Authorized Signature:                                \AS1.2n\

              Print Name:                                          \AS1.2nP\

              Title:                                               \AS1.1nT\

              Date:                                                \SDAO1\

              Client: #193690
              v. 11/22/2022
DocuSign Envelope ID: 36B31A3B-CC6A-4C16-A822-723EFBBA0336
                          Case 23-10961-BLS             Doc 260-1        Filed 09/01/23        Page 28 of 52
       PROFESSIONAL SERVICES AGREEMENT
       Audit of Issuers


       This Professional Services Agreement (“Agreement”) together with the Engagement Letter, which is hereby incorporated
       by reference, represents the terms and conditions relating to services to be provided to Williams Industrial Services Group,
       Inc. by Moss Adams LLP. The terms “we, us, and our” will identify Moss Adams LLP. The terms “you, your, and Company”
       will apply to Williams Industrial Services Group, Inc.
       Objective of the Audit
       The objective of our audit is the expression of an opinion about whether your financial statements are fairly presented, in
       all material respects, in conformity with U.S. generally accepted accounting principles. Our audit will be conducted in
       accordance with the standards of the Public Company Accounting Oversight Board (United States) and will include tests of
       your accounting records and other procedures we consider necessary to enable us to express such an opinion. If our
       opinion is other than unqualified, we will discuss the reasons with you and the Audit Committee in advance. If, for any
       reason, we are unable to complete the audit or are unable to form or have not formed an opinion, we may decline to express
       an opinion or to issue a report as a result of this engagement.
       Procedures and Limitations
       Our procedures will include tests of documentary evidence supporting the transactions recorded in the accounts, tests of
       the physical existence of inventories, and direct confirmation of certain receivables and certain other assets and liabilities
       by correspondence with selected customers, creditors, and financial institutions. We will also request written
       representations from your attorneys as part of the engagement, and they may bill you for responding to this inquiry. At the
       conclusion of our audit, we will require certain written representations from management about the financial statements and
       related matters.
       An audit includes examining, on a test basis, evidence supporting the amounts and disclosures in the financial statements;
       therefore, our audit will involve judgment about the number of transactions to be examined and the areas to be tested. Also,
       we will plan and perform the audit to obtain reasonable, but not absolute, assurance about whether the financial statements
       are free of material misstatement, whether from errors, fraudulent financial reporting, misappropriation of assets, or
       violations of laws or governmental regulations that are attributable to the entity or to acts by management or employees
       acting on behalf of the entity that may have a direct financial statement impact. Because an audit is designed to provide
       reasonable, but not absolute, assurance and because we will not perform a detailed examination of all transactions as such
       is cost prohibitive, there is a risk that material misstatements may exist and not be detected by us. Although not absolute
       assurance, reasonable assurance is a high level of assurance. In addition, an audit is not designed to detect immaterial
       misstatements or violations of laws or governmental regulations that do not have a direct and material effect on the financial
       statements. However, we will inform the Audit Committee of any material errors, fraudulent financial reporting or
       misappropriation of assets and violations of laws or governmental regulations that come to our attention, unless clearly
       inconsequential. Our responsibility as auditors is limited to the period covered by our audit and does not extend to any later
       periods for which we are not engaged as auditors.
       Our audit will include obtaining an understanding of the Company’s internal control sufficient to plan the audit and to
       determine the nature, timing, and extent of audit procedures to be performed. An audit of financial statements is not
       designed to provide assurance on internal control or to identify deficiencies in the design or operation of internal control.
       However, if, during the audit, we become aware of any matters involving internal control or its operation that we consider
       to be significant deficiencies or material weaknesses under standards of the Public Company Accounting Oversight Board,
       we will communicate them in writing to management and the Audit Committee prior to the issuance of our report. We will
       also communicate in writing to the Company’s Board of Directors if we become aware that the oversight of the Company’s
       external financial reporting and internal control over financial reporting by the Audit Committee is ineffective,
       Our reviews of the quarterly financial statements will be conducted in accordance with the standards of the Public Company
       Accounting Oversight Board (United States), and will consist primarily of inquiries of Company personnel and analytical
       procedures applied to financial data. We will require a representation letter from management. Our review does not
       contemplate obtaining corroborating evidential matter, and other procedures that are performed during an audit, and does
       not, therefore, provide assurance that we will become aware of all significant matters that might be disclosed in an audit.
       Our review engagement cannot be relied upon to disclose errors, fraud, or illegal acts that may exist. However, we will
       inform you of any material errors that come to our attention and any fraud or illegal acts that come to our attention, unless
       they are clearly inconsequential. In addition, we have no responsibility to identify significant deficiencies or material
       weaknesses in your internal control solely arising from this review engagement. However, if, during the review, we become
       aware of any matters involving internal control or its operation that we consider to be significant deficiencies or material
       weaknesses under standards of the Public Company Accounting Oversight Board, we will communicate them in writing to
       management and the Audit Committee prior to the Company’s filing of its periodic report with the SEC. A review is not an
       audit, the objective of which is the expression of an opinion regarding the financial statements taken as a whole, and,
       accordingly, we will not express such an opinion on the quarterly financial statements.
DocuSign Envelope ID: 36B31A3B-CC6A-4C16-A822-723EFBBA0336
                          Case 23-10961-BLS             Doc 260-1        Filed 09/01/23        Page 29 of 52
                                                                                                        Professional Services Agreement
                                                                                                                         Audit of Issuers
                                                                                                                             Page 2 of 6


       Our fees do not reflect the additional procedures required by us if you refer to our work on the quarterly financial statements
       in any filing with the SEC. We ask that you advise us in advance of making any such reference to our work on the interim
       financial statements so that we can plan for, and perform the needed work on a timely basis.
       Responsibility for Financial Statements
       You are responsible for making all financial records and relevant information available to us and for the accuracy and
       completeness of that information. We may advise you and the Audit Committee about appropriate accounting principles
       and their application, but the responsibility for the financial statements, including disclosures, remains with you. This
       responsibility includes the establishment and maintenance of adequate records and effective internal control over financial
       reporting, the selection and application of accounting principles, and the safeguarding of assets. You are responsible for
       the design and implementation of programs and controls to prevent and detect fraud, and for informing us about all known
       or suspected fraud affecting the Company involving (a) management, (b) employees who have significant roles in internal
       control, and (c) others where the fraud could have a material effect on the financial statements. You are responsible for
       informing us of your knowledge of any allegations of fraud or suspected fraud affecting the Company received in
       communications from employees, former employees, regulators or others. You are responsible for adjusting the financial
       statements to correct material misstatements relating to accounts or disclosures and for confirming to us in the management
       representation letter that the effects of any uncorrected misstatements aggregated by us during the current engagement
       and pertaining to the latest period presented are immaterial, both individually and in the aggregate, to the financial
       statements taken as a whole. You are also responsible for identifying and ensuring that the Company complies with
       applicable laws and regulations.
       You agree that as a condition of our engagement, you will provide us, in a timely and orderly way, with information in your
       possession that we request or that has a material impact on the nature or characterization of any material transaction to
       complete our engagement, and that information will be, to the best of your knowledge and belief, truthful and accurate.
       Management’s Responsibility to Notify Us of Affiliates (SEC)
       Our professional standards require that we remain independent of the Company as well as any “affiliate” of the Company.
       Professional standards define an affiliate as follows:
          an entity that has control over the Company, or over which the Company has control, including the Company’s
           parents and subsidiaries;
          an entity which is under common control with the Company, unless either the common control entity or the Company
           are not material to the controlling entity;
          an entity over which the Company has significant influence, unless the entity is not material to the Company;
          an entity that has significant influence over the Company, unless the Company is not material to the entity; and
          each entity in an investment company complex when the Company is an entity that is part of that investment
           company complex, assuming both the Company and the entity are material to the controlling entity or entities.
       In order to fulfill our mutual responsibility to maintain auditor independence, you agree to notify Moss Adams of any known
       affiliate relationships, to the best of your knowledge and belief. Additionally, you agree to inform Moss Adams of any known
       services provided to or relationships between affiliates of the Company and Moss Adams or any of its employees and
       personnel.
       Dissemination of Financial Statements
       Our report on the financial statements should be associated only with the financial statements that were the subject of our
       engagement. You may make copies of our report, but only if the entire financial statement (including related footnotes and
       supplemental information, as appropriate) is reproduced and distributed with our report. Our report should not be
       reproduced and associated with any other financial statements, or portions thereof, that are not the subject of this
       engagement. This paragraph does not serve as Moss Adams LLP’s consent to be referred to as “experts” or for the use of
       our report in any filings with the SEC or other regulatory entity.
       You may choose to publish your financial statements electronically on your Company’s Internet website. Internet websites
       are a means to distribute information and we are not required under professional standards to read or monitor the
       information contained on your website or to consider the consistency of other information in the electronic site with the
       original document. However, we reserve the right to review the information as presented on your Internet website, and to
       withdraw our report should we disagree with the form, context or manner of presentation of the financial statements upon
       which we reported. You agree that upon written notification of our objections to immediately remove our report and any
       reference thereto or to Moss Adams from your Internet website.
DocuSign Envelope ID: 36B31A3B-CC6A-4C16-A822-723EFBBA0336
                          Case 23-10961-BLS              Doc 260-1        Filed 09/01/23         Page 30 of 52
                                                                                                          Professional Services Agreement
                                                                                                                           Audit of Issuers
                                                                                                                               Page 3 of 6


       Consents and Report Re-issuance
       We are under no obligation to re-issue our reports or provide consent for the use or our reports at a later date in connection
       with an offering of securities, the issuance of debt instruments or for any other circumstance. The determination of whether
       or not we will re-issue our reports or provide consent for the use of our reports is solely the responsibility of Moss Adams,
       and will be made only after we have conducted any due diligence we deem necessary in the circumstances. Fees
       associated with the re-issuance of our report or providing consent are beyond the fees contemplated by this Agreement. If
       we decide not to re-issue our reports or consent to the use of our reports, it is possible the Company may be required to
       engage another firm to audit periods covered by our audit reports, and those firms will likely bill you for their services. While
       the successor auditor may request access to our engagement documentation for those periods, we are under no obligation
       to permit such access.
       The services outlined in this Agreement do not contemplate the requirements of Moss Adams or an underwriter or its lawyer
       in connection with the offering of securities. We require that our firm be included on each distribution of draft offering
       materials and that we receive a complete set of final documents. We expect adequate time to review documents where our
       report is requested to be reissued, or referred to, or reference to our firm as “Experts” is expected to be made. We will
       attempt to respond quickly in order to keep to timetables as required and will not unreasonably withhold our opinion or
       consent pending satisfaction of our own due diligence and completion of required subsequent events procedures. Finally,
       should we be asked to provide comfort to the underwriter regarding financial matters in any registration statement, we
       expect adequate notice of the requested matters so that we can evaluate the appropriateness of the request and have
       sufficient time to complete the procedures requested. The services discussed in this paragraph cannot be estimated with
       any accuracy and accordingly, are not included in the fee estimates in the Engagement Letter.
       Changes in Professional or Accounting Standards
       To the extent that future federal, state, or professional rule-making activities require modification of our audit approach,
       procedures, scope of work, etc., we will advise you of such changes and the impact on our fee estimate. If we are unable
       to agree on the additional fees, if any, that may be required to implement any new accounting and auditing standards that
       are required to be adopted and applied as part of our engagement, we reserve the right to withdraw from the engagement,
       regardless of the stage of completion.
       Representations of Management
       During the course of our engagement, we may request information and explanations from management regarding, among
       other matters, the Company’s operations, internal control, future plans, specific transactions, and accounting systems and
       procedures. At the conclusion of our engagement, we will require, as a precondition to the issuance of our report, that
       management reconfirm some or all of the representations made in a written representation letter. The procedures that we
       will perform in our engagement will be heavily influenced by the representations that we receive from management.
       Accordingly, false representations could cause us to expend unnecessary efforts or could cause a material error or fraud
       to go undetected by our procedures. While we may assist management in the preparation of the representation letter, it is
       management’s responsibility to carefully review and understand the representations made therein.
       Fees and Expenses
       The Company acknowledges that the following circumstances will result in an increase of our fees:
          Failure to prepare for the audit as evidenced by accounts and records that have not been subject to normal year-end
           closing and reconciliation procedures;
          Failure to complete the audit preparation work by the applicable due dates;
          Significant unanticipated transactions, audit issues, or other such circumstances;
          Delays causing scheduling changes or disruption of fieldwork;
          After audit or post fieldwork circumstances requiring revisions to work previously completed or delays in resolution of
           issues that extend the period of time necessary to complete the audit;
          Issues with the prior audit firm, prior year account balances or report disclosures that impact the current year
           engagement; and
          An excessive number of audit adjustments.
       We will endeavor to advise you in the event these circumstances occur, however we may be unable to determine the impact
       on the estimated fee until the conclusion of the engagement. We will bill any additional amounts based on the experience
       of the individuals involved and the amount of work performed.
DocuSign Envelope ID: 36B31A3B-CC6A-4C16-A822-723EFBBA0336
                          Case 23-10961-BLS              Doc 260-1        Filed 09/01/23         Page 31 of 52
                                                                                                          Professional Services Agreement
                                                                                                                           Audit of Issuers
                                                                                                                               Page 4 of 6


       Billings are due upon presentation and become delinquent if not paid within 30 days of the invoice date. Any past due fee
       under this Agreement shall bear interest at the highest rate allowed by law on any unpaid balance. In addition to fees, you
       may be billed for expenses and any applicable sales and gross receipts tax. Direct expenses may be charged based on
       out-of-pocket expenditures, per diem allotments, and mileage reimbursements, depending on the nature of the expense.
       Indirect expenses, such as processing time and technology expenses, may be passed through at our estimated cost and
       may be billed as a flat charge or a percentage of fees. If we elect to suspend our engagement for nonpayment, we may not
       resume our work until the account is paid in full. If we elect to terminate our services for nonpayment, or as otherwise
       provided in this Agreement, our engagement will be deemed to have been completed upon written notification of
       termination, even if we have not completed our work. You will be obligated to compensate us for fees earned for services
       rendered and to reimburse us for expenses. You acknowledge and agree that in the event we stop work or terminate this
       Agreement as a result of your failure to pay on a timely basis for services rendered by Moss Adams as provided in this
       Agreement, or if we terminate this Agreement for any other reason, we shall not be liable to you for any damages that occur
       as a result of our ceasing to render services.
       Subpoena of Documents
       As a result of our services to you, we may be required or requested to provide information or documents to you or a third-
       party in connection with governmental regulations or activities, or a legal, arbitration or administrative proceeding (including
       a grand jury investigation), in which we are not a party. You may, within the time permitted for our firm to respond to any
       request, initiate such legal action as you deem appropriate to protect information from discovery. If you take no action within
       the time permitted for us to respond or if your action does not result in a judicial order protecting us from supplying requested
       information, we may construe your inaction or failure as consent to comply with the request. If this occurs, our efforts in
       complying with such requests or demands will be deemed a part of this engagement and we shall be entitled to additional
       compensation for our time and reimbursement for our out-of-pocket expenditures (including legal fees) in complying with
       such request or demand.
       Regulatory Access to Documentation
       The documents created or incorporated into our documentation for this engagement are the property of Moss Adams and
       constitute confidential information. However, we may be requested to make certain engagement related documents
       available to regulatory agencies pursuant to authority given to them by law or regulation. If requested and in our opinion a
       response is required by law, access to such engagement related documents will be provided under the supervision of Moss
       Adams personnel. Furthermore, upon request, we may provide photocopies of selected engagement related documents to
       regulatory agencies. The regulatory agencies may intend, or decide, to distribute the photocopies or information contained
       therein to others, including other government agencies.
       Document Retention Policy
       At the conclusion of this engagement, we will return to you all original records you supplied to us. Your Company records
       are the primary records for your operations and comprise the backup and support for your financial reports and tax returns.
       Our records and files, including our workpapers whether kept on paper or electronic media are our property and are not a
       substitute for your own records. Our firm policy calls for us to destroy our engagement files and all pertinent workpapers
       after a retention period of seven years, after which time these items will no longer be available. Catastrophic events or
       physical deterioration may result in our firm’s records being unavailable before the expiration of the above retention period.
       Use of Electronic Communication
       In the interest of facilitating our services to you, we may communicate by facsimile transmission or send electronic mail
       over the Internet. Such communications may include information that is confidential. We employ measures in the use of
       electronic communications designed to provide reasonable assurance that data security is maintained. While we will use
       our best efforts to keep such communications secure in accordance with our obligations under applicable laws and
       professional standards, you recognize and accept we have no control over the unauthorized interception of these
       communications once they have been sent. Unless you issue specific instructions to do otherwise, we will assume you
       consent to our use of electronic communications to your representatives and other use of these electronic devices during
       the term of this MSA as we deem appropriate.
       Enforceability
       In the event that any portion of this Agreement or the related Engagement Letter is deemed invalid or unenforceable, said
       finding shall not operate to invalidate the remainder of the Engagement Letter or this Agreement.
       Entire Agreement
       This Professional Services Agreement and the Engagement Letter constitute the entire agreement and understanding
       between Moss Adams and the Company. The Company agrees that in entering into this Agreement it is not and has not
       relied upon any oral or other representations, promise or statement made by anyone which is not set forth herein.
DocuSign Envelope ID: 36B31A3B-CC6A-4C16-A822-723EFBBA0336
                           Case 23-10961-BLS              Doc 260-1        Filed 09/01/23         Page 32 of 52
                                                                                                           Professional Services Agreement
                                                                                                                            Audit of Issuers
                                                                                                                                Page 5 of 6


       Use of Moss Adams’ Name
       The Company may not use any of Moss Adams’ name, trademarks, service marks or logo in connection with the services
       contemplated by this Agreement or otherwise without the prior written consent of Moss Adams, which consent may be
       withheld for any or no reason and may be subject to certain conditions.
       Use of Nonlicensed Personnel
       Certain engagement personnel who are not licensed as certified public accountants may provide services during this
       engagement.
       Use of Subcontractor and Affiliate
       We may retain subcontractors and/or our affiliate, Moss Adams (India) LLP, to assist us in providing our services to you.
       These entities may collect, use, transfer, store, or otherwise process information provided by you or on your behalf (“Client
       information”) in the domestic and foreign jurisdictions in which they operate. All of these entities are required to protect the
       confidentiality of any Client information to which they have access in the course of their work. We will be responsible for
       their performance in accordance with the terms of this Agreement.
       Dispute Resolution Procedure, Venue and Limitation Period
       This Agreement shall be governed by the laws of the state of Washington, without giving effect to any conflicts of laws
       principles. If a dispute arises out of or relates to the engagement described herein, and if the dispute cannot be settled
       through negotiations, the parties agree first to try in good faith to settle the dispute by mediation using an agreed upon
       mediator. If the parties are unable to agree on a mediator, the parties shall petition the state court that would have jurisdiction
       over this matter if litigation were to ensue and request the appointment of a mediator, and such appointment shall be binding
       on the parties. Each party shall be responsible for its own mediation expenses, and shall share equally in the mediator’s
       fees and expenses.
       Each party hereby irrevocably (a) consents to the exclusive jurisdiction and venue of the appropriate state or federal court
       located in King County, state of Washington, in connection with any dispute hereunder or the enforcement of any right or
       obligation hereunder, and (b) WAIVES ITS RIGHT TO A JURY TRIAL. EACH PARTY FURTHER AGREES THAT ANY
       SUIT ARISING OUT OF OR RELATED TO THIS AGREEMENT MUST BE FILED WITHIN ONE (1) YEAR AFTER THE
       CAUSE OF ACTION ARISES.
       Termination
       This Agreement may be terminated by either party, with or without cause, upon written notice. In such event, we will stop
       providing Services hereunder except on work, mutually agreed upon in writing. In the event of termination: (a) you shall pay
       us for Services provided and expenses incurred, (b) we will provide you with all finished reports that we have prepared
       pursuant to this Agreement, (c) neither party shall be liable to the other for any damages that occur as a result of our ceasing
       to render Services, and (d) we will require any new accounting firm that you may retain to execute a letter satisfactory to
       Moss Adams pursuant to Statement on Auditing Standards No. 84.
       Additional Procedures Relating to Fraud
       We have advised you of the limitations of our audit regarding the detection of fraud and the possible effect on the financial
       statements (including misappropriation of cash or other assets). We will not design our engagement to detect errors or
       fraud unless they are material to the financial statements. Errors and fraud are considered to be material only if their
       magnitude, individually or in aggregate, are such that a reasonable person relying on the presentation of your company’s
       financial statements would be influenced by their inclusion or omission. Services specifically designed to detect fraud that
       are not material to your financial statements are available at substantial additional cost. You have chosen not to engage us
       to perform these additional cost services.
       Hiring of Employees
       As we are sure you realize, we have a significant investment in the training and development of our accountants, and they
       are valued employees of Moss Adams. If you should hire one of our accountants either during the audit or within one year
       after the completion of this engagement, you agree to pay a personnel placement fee to compensate Moss Adams. Any
       offer of employment to members of the audit team prior to issuance of our report may impair our independence, and as a
       result, may result in our inability to complete the engagement and issue a report.
       Mutual Waiver of COVID-19 Claims
       This provision addresses issues regarding the novel coronavirus (“COVID-19”). The Parties acknowledge their respective
       understanding of the hazards of COVID-19, including, but not limited to, its highly contagious nature and the corresponding
       health risks associated with being exposed to or infected by COVID-19. Each Party agrees to waive, release, discharge,
       and covenants not to sue the other Party or its affiliates and its and their respective officers, directors, partners, principals,
       employees, agents, or subcontractors from any and all claims, damages, expense, liability, illness or losses that may occur
DocuSign Envelope ID: 36B31A3B-CC6A-4C16-A822-723EFBBA0336
                         Case 23-10961-BLS             Doc 260-1        Filed 09/01/23       Page 33 of 52
                                                                                                      Professional Services Agreement
                                                                                                                       Audit of Issuers
                                                                                                                           Page 6 of 6


       from exposure to or infection by COVID-19 arising out of, related to, or in any way connected with the professional services
       provided by Moss Adams.
DocuSign Envelope ID: 5DE797A0-5D95-4298-9EC8-84B6033038A6
                          Case 23-10961-BLS            Doc 260-1     Filed 09/01/23       Page 34 of 52




               July 10, 2023

               The Audit Committee
               c/o Robert Mills, Chair
               Williams Industrial Services Group, Inc.

               Re: Review services conducted in accordance with the Standards of the Public Company Accounting
                    Oversight Board


               Dear Mr. Mills:

               This engagement letter (“Engagement Letter”) and the attached Professional Services Agreement,
               which is incorporated by this reference, confirm our acceptance and understanding of the terms and
               objectives of our engagement, and limitations of the services that Moss Adams LLP (“Moss Adams,”
               “we,” “us,” and “our”) will provide to Williams Industrial Services Group, LLC (“you,” “your,” and
               “Company”).We will review the condensed consolidated balance sheet of the Company as of
               June 30, 2023, and the related condensed consolidated statements of operations, comprehensive
               income (loss), stockholders’ equity, and cash flows for the three and six months then ended June 30,
               2023 (“interim financial information”) in accordance with Public Company Accounting Oversight Board
               (“PCAOB”) Auditing Standards No. 4105, Reviews of Interim Financial Information.

               We understand that the interim financial information will be included in the Company’s quarterly
               reports on Form 10-Q after the completion of our review. As a condition of our engagement, we
               require that you obtain our separate written consent prior to making reference to our review of the
               interim financial information in any SEC form or filing.

               As additional conditions of our engagement, the Company and the Audit Committee agree to:

                   1) Promptly notify us of all Exchange Act reports (such as Form 8-K), whether we have or have
                      not performed any professional work in connection with the filing.
                   2) Obtain our consent for each 1933 Securities Act Filing and each amendment, and for each
                      amended 1934 Act filing.
                   3) Promptly provide us with a copy of any correspondence to or from the SEC and state
                      securities regulators.
                   4) Provide us with any proposed earnings release in a timely manner prior to publication.
DocuSign Envelope ID: 5DE797A0-5D95-4298-9EC8-84B6033038A6
                           Case 23-10961-BLS           Doc 260-1     Filed 09/01/23       Page 35 of 52


                                                                                                           Robert Mills, Chair
                                                                                      Williams Industrial Services Group, Inc.
                                                                                                                 July 10, 2023
                                                                                                                   Page 2 of 4




               Timing
               Pedro A. Gonzalez is responsible for supervising the engagement and authorizing conclusion of our
               review engagement. We expect to begin our review on approximately July 24, 2023, and complete
               our review work no later than August 14, 2023. We anticipate that field work will end on
               approximately August 7, 2023, unless unforeseen circumstances arise. As we reach the conclusion of
               the review, we will coordinate with you the date the reviewed interim financial information will be
               issued. You understand that you will be required to consider subsequent events through the date the
               interim financial information is issued which will coincide with the date of the management
               representation letter. We will not issue a review report at the completion of our review of the interim
               financial statements. We will notify you when we have completed our interim review procedures
               under AS 4105.

               If unforeseen difficulties occur which make meeting the agreed upon dates improbable, we will inform
               you and the Audit Committee immediately. Our ability to meet these targets will be dependent, in part,
               on the level of preparation and cooperation by your staff.

               Fees
               Our fees will be based on the experience of the individuals involved and the amount of work
               performed. You will also be billed for expenses. The rates of the professionals who will be providing
               the services are as follows:

               See the following rate table below for individual rates.

                                                               FEES

                                    Staff Level                                       Hourly Rate

                         Partner (Engagement Reviewer)                                   $600

                         Partner (Engagement Quality Reviewer)                           $735

                         Partner (Other)                                                 $525

                         Manager                                                         $305

                         Senior Staff Member                                         $255 – $280

                         Staff Member                                                $215 – $225


               Our invoices include a flat expense charge, calculated as five percent (5%) of fees, to cover
               expenses such administrative billable time, report processing fees, filing fees, and technology
               expenses. Travel expenses and client meals/entertainment expenses will be billed separately and are
               not included in the 5% charge.
DocuSign Envelope ID: 5DE797A0-5D95-4298-9EC8-84B6033038A6
                          Case 23-10961-BLS            Doc 260-1      Filed 09/01/23      Page 36 of 52


                                                                                                           Robert Mills, Chair
                                                                                      Williams Industrial Services Group, Inc.
                                                                                                                 July 10, 2023
                                                                                                                   Page 3 of 4




               Retainer
               Moss Adams and the Company agree that the Company (a) will provide us a “classic retainer” as
               defined in In re Production Associates, Ltd., 264 B.R. 180 (Bankr. N.D. Ill. 2001), and In re McDonald
               Bros. Construction, Inc., 114 B.R. 989 (Bankr. N.D. Ill. 1990), and (b) will replenish the classic
               retainer upon receiving invoices from Moss Adams so that the classic retainer amount remains at or
               above Moss Adams’ estimated fees and expenses expected to be accrued and unpaid by the
               Company between payment cycles. The classic retainer will be earned by Moss Adams upon receipt.

               The classic retainer will be placed into Moss Adams’ general cash account, will not be held in a
               separate account on your behalf, and you will not receive any interest on these monies. You have no
               interest in the classic retainer. For purposes of this engagement, the initial retainer amount shall be
               $125,000.

               Management of the Company or the Audit Committee may request that we perform additional
               services not contemplated by this Engagement Letter. If this occurs, we will communicate with the
               Audit Committee regarding the scope of the additional services and the estimated fees and request
               advance approval from the Audit Committee prior to beginning work. It is our practice to issue a
               separate engagement letter covering additional services.

               We appreciate the opportunity to be of service to you. If you agree with the terms of our engagement
               as set forth herein, please sign the enclosed copy of this Engagement Letter and return it to us with
               the Professional Services Agreement.

               Very truly yours,




               Pedro A. Gonzalez, Partner, for
               Moss Adams LLP

               Enclosures
DocuSign Envelope ID: 5DE797A0-5D95-4298-9EC8-84B6033038A6
                            Case 23-10961-BLS          Doc 260-1     Filed 09/01/23      Page 37 of 52


                                                                                                          Robert Mills, Chair
                                                                                     Williams Industrial Services Group, Inc.
                                                                                                                July 10, 2023
                                                                                                                  Page 4 of 4




               Accepted and Agreed:
               This Engagement Letter and the attached Professional Services Agreement set forth the entire
               understanding of Williams Industrial Services Group, Inc. with respect to review services to be
               provided by Moss Adams LLP:


               Authorized Signature:                               \ASAC1n\

               For the Audit Committee of Williams Industrial Services, Inc

                        7/19/2023
               Date:


               Acknowledged:

               I acknowledge the responsibilities and obligations of management and the Company in this letter and
               the attached Professional Services Agreement:


               Authorized Signature:                                \AS1.2n\
                                 Randy Lay
               Print Name:                                          \AS1.2nP\

               Title:      Chief Operating Officer

                        7/23/2023
               Date:                                                \SDAO1\

               Client: #193690
               v. 11/22/2022
DocuSign Envelope ID: 5DE797A0-5D95-4298-9EC8-84B6033038A6
                          Case 23-10961-BLS              Doc 260-1         Filed 09/01/23         Page 38 of 52
       PROFESSIONAL SERVICES AGREEMENT



       This Professional Services Agreement (the “PSA”) together with the Engagement Letter, which is hereby incorporated by
       reference, represents the entire agreement (the “Agreement”) relating to services that Moss Adams will provide to the
       Company. Any undefined terms in this PSA shall have the same meaning as set forth in the Engagement Letter.
       Objective of the Reviews
       The objective of a review of interim financial information under Public Company Accounting Oversight Board (“PCAOB”)
       Auditing Standards No. 4105, Reviews of Interim Financial Information (“AS 4105”) is to provide the accountant with a basis
       for communicating whether we are aware of any material modifications that should be made to the interim financial
       information for it to conform with generally accepted accounting principles. This objective differs significantly from that of
       an audit conducted in accordance with the standards of the PCAOB. A review of interim financial information does not
       provide a basis for expressing an opinion about whether the interim financial information is presented fairly, in all material
       respects, in conformity with generally accepted accounting principles.
       Procedures and Limitations
       Our reviews of interim financial information will be conducted in accordance with AS 4105. This review consists principally
       of performing analytical procedures and making inquiries of persons responsible for financial and accounting matters, and
       does not contemplate (a) tests of accounting records through inspection, observation, or confirmation; (b) tests of controls
       to evaluate their effectiveness; (c) obtaining corroborating evidence in response to inquiries; or (d) performing certain
       other procedures ordinarily performed in an audit.

       Our review will include obtaining sufficient knowledge of the Company's business and its internal control as it
       relates to the preparation of both annual and interim financial information to (a) identify the types of potential
       material misstatements in the interim financial information and consider the likelihood of their occurrence; and (b)
       select the inquiries and analytical procedures that will provide us with a basis for communicating whether we are
       aware of any material modifications that should be made to the interim financial information for it to conform with
       generally accepted accounting principles.
       A review may bring to our attention significant matters affecting the interim financial information, but it does not provide
       assurance that we will become aware of all significant matters that would be identified in an audit. Our review of interim
       financial information does not contemplate obtaining corroborating evidential matter, and other procedures that are
       performed during an audit, and does not, therefore, provide assurance that we will become aware of all significant matters
       that might be disclosed in an audit. We will require a representation letter from management.
       Our review engagement cannot be relied upon to disclose errors, fraud, or illegal acts that may exist. However, we will
       inform you of any material errors that come to our attention and any fraud or illegal acts that come to our attention, unless
       they are clearly inconsequential. In addition, we have no responsibility to identify significant deficiencies or material
       weaknesses in your internal control solely arising from this review engagement. However, if, during the review, we become
       aware of any matters involving internal control or its operation that we consider to be significant deficiencies or material
       weaknesses under standards of the PCAOB, we will communicate them in writing to management and the Audit Committee
       prior to the Company’s filing of its periodic report with the SEC. A review of interim financial information is not an audit, the
       objective of which is the expression of an opinion regarding the financial statements taken as a whole, and, accordingly,
       we will not express such an opinion on the interim financial information.
       Responsibility for Interim Financial Information
       You are responsible for making all financial records and related information available to us and for the accuracy and
       completeness of that information. We may advise you and the Audit Committee about appropriate accounting principles
       and their application, but the responsibility for the interim financial information remains with you. This responsibility includes
       the establishment and maintenance of adequate records and effective internal control over financial reporting, the selection
       and application of accounting principles, and the safeguarding of assets. You are responsible for the design and
       implementation of programs and controls to prevent and detect fraud, and for informing us about all known or suspected
       fraud affecting the Company involving (a) management, (b) employees who have significant roles in internal control, and
       (c) others where the fraud could have a material effect on the interim financial information. You are responsible for informing
       us of your knowledge of any allegations of fraud or suspected fraud affecting the Company received in communications
       from employees, former employees, regulators or others. You are responsible for adjusting the interim financial information
       to correct material misstatements and for confirming to us in the management representation letter that the effects of any
       uncorrected misstatements aggregated by us during the current engagement and pertaining to the latest period presented
       are immaterial, both individually and in the aggregate, to the interim financial information taken as a whole. You are also
       responsible for identifying and ensuring that the Company complies with applicable laws and regulations.
DocuSign Envelope ID: 5DE797A0-5D95-4298-9EC8-84B6033038A6
                           Case 23-10961-BLS              Doc 260-1        Filed 09/01/23         Page 39 of 52
                                                                                                           Professional Services Agreement
                                                                                                                                Page 2 of 5



       You agree that as a condition of our engagement you will provide us, in a timely and orderly way, with information in your
       possession that we request or that has a material impact on the nature or characterization of any material transaction to
       complete our engagement, and that information will be, to the best of your knowledge and belief, truthful and accurate. The
       Company agrees that as a condition of our engagement management will provide us with:
           access to all information of which management is aware that is relevant to the preparation and fair presentation of the
            interim financial information, such as records, documentation, and other matters;
           additional information that we may request from management for the purpose of the review; and
           unrestricted access to persons within the Company of whom we determine it necessary to make inquiries.
       Management’s Responsibility to Notify Us of Affiliates (SEC)
       Our professional standards require that we remain independent of the Company as well as any “affiliate” of the Company.
       Professional standards define an affiliate as follows:
           an entity that has control over the Company, or over which the Company has control, including the Company’s
            parents and subsidiaries;
           an entity which is under common control with the Company, unless either the common control entity or the Company
            are not material to the controlling entity;
           an entity over which the Company has significant influence, unless the entity is not material to the Company;
           an entity that has significant influence over the Company, unless the Company is not material to the entity; and
           each entity in an investment company complex when the Company is an entity that is part of that investment
            company complex, assuming both the Company and the entity are material to the controlling entity or entities.
       In order to fulfill our mutual responsibility to maintain auditor independence, you agree to notify Moss Adams of any known
       affiliate relationships, to the best of your knowledge and belief. Additionally, you agree to inform Moss Adams of any known
       services provided to or relationships between affiliates of the Company and Moss Adams or any of its employees and
       personnel.
       Dissemination of Interim Financial Information
       Generally, formal reports for AS 4105 reviews of interim financial information are not issued. However, if we issue a report,
       it should be associated only with the interim financial information that were the subject of our engagement. You may make
       copies of our report, if issued, but only if the entire interim financial information (including related footnotes and supplemental
       information, as appropriate) is reproduced and distributed with our report. If our report is issued, it should not be reproduced
       and associated with any other financial statements, or portions thereof, that are not the subject of this engagement. This
       paragraph does not serve as Moss Adams’s consent to be referred to as “experts” or for the use of our report in any filings
       with the SEC or other regulatory entity.
       The Company agrees to include the auditor’s review report in any report, document, or written communication containing
       your interim financial information that indicates that such information has been reviewed by us or makes any other reference
       to our association with your interim financial information.
       Offering of Securities
       This Agreement does not contemplate Moss Adams providing any services in connection with the offering of securities,
       whether registered or exempt from registration, and Moss Adams will charge additional fees to provide any such services.
       You agree not to incorporate or reference our report in a private placement or other offering of your equity or debt securities
       without our express written permission. You further agree we are under no obligation to reissue our report or provide written
       permission for the use of our report at a later date in connection with an offering of securities, the issuance of debt
       instruments, or for any other circumstance. We will determine, at our sole discretion, whether we will reissue our report or
       provide written permission for the use of our report only after we have conducted any procedures we deem necessary in
       the circumstances. You agree to provide us with adequate time to review documents where (a) our report is requested to
       be reissued, (b) our report is included in the offering document or referred to therein, or (c) reference to our firm is expected
       to be made. If we decide to reissue our report or provide written permission to use our report, you agree that Moss Adams
       will be included on each distribution of draft offering materials and we will receive a complete set of final documents. If we
       decide not to reissue our report or withhold our written permission to use our report, you may be required to engage another
       firm to review periods covered by our review reports, and that firm will likely bill you for its services. While the successor
       accountant may request access to our engagement documentation for those periods, we are under no obligation to permit
       such access.
DocuSign Envelope ID: 5DE797A0-5D95-4298-9EC8-84B6033038A6
                          Case 23-10961-BLS              Doc 260-1        Filed 09/01/23         Page 40 of 52
                                                                                                          Professional Services Agreement
                                                                                                                               Page 3 of 5



       Changes in Professional or Accounting Standards
       To the extent that future federal, state, or professional rule-making activities require modification of our review procedures,
       scope of work, etc., we will advise you of such changes and the impact on our fee estimate. If we are unable to agree on
       the additional fees, if any, that may be required to implement any new accounting and auditing standards that are required
       to be adopted and applied as part of our engagement, we may terminate this Agreement as provided herein, regardless of
       the stage of completion.
       Representations of Management
       During the course of our engagement, we may request information and explanations from management regarding, among
       other matters, the Company’s operations, internal control, future plans, specific transactions, and accounting systems and
       procedures. At the conclusion of our engagement, we will require, that management reconfirm some or all of the
       representations made in a written representation letter. The procedures that we will perform in our engagement will be
       heavily influenced by the representations that we receive from management. Accordingly, false representations could cause
       us to expend unnecessary efforts or could cause a material error or fraud to go undetected by our procedures. While we
       may assist management in the preparation of the representation letter, it is management’s responsibility to carefully review
       and understand the representations made therein.
       Fees and Expenses
       Billings are due upon presentation and become delinquent if not paid within 30 days of the invoice date. Any past due fee
       under this Agreement shall bear interest at the highest rate allowed by law on any unpaid balance. In addition to fees, you
       may be billed for expenses and any applicable sales and gross receipts tax. Direct expenses may be charged based on
       out-of-pocket expenditures, per diem allotments, and mileage reimbursements, depending on the nature of the expense.
       Indirect expenses, such as processing time and technology expenses, may be passed through at our estimated cost and
       may be billed as a flat charge or a percentage of fees. If we elect to suspend our engagement for nonpayment, we may not
       resume our work until the account is paid in full. If we elect to terminate our services for nonpayment, or as otherwise
       provided in this Agreement, our engagement will be deemed to have been completed upon written notification of
       termination, even if we have not completed our work. You will be obligated to compensate us for fees earned for services
       rendered and to reimburse us for expenses. You acknowledge and agree that in the event we stop work or terminate this
       Agreement as a result of your failure to pay on a timely basis for services rendered by Moss Adams as provided in this
       Agreement, or if we terminate this Agreement for any other reason, we shall not be liable to you for any damages that occur
       as a result of our ceasing to render services.
       Subpoena of Documents
       As a result of our services to you, we may be required or requested to provide information or documents to you or a third-
       party in connection with governmental regulations or activities, or a legal, arbitration or administrative proceeding (including
       a grand jury investigation), in which we are not a party. You may, within the time permitted for our firm to respond to any
       request, initiate such legal action as you deem appropriate to protect information from discovery. If you take no action within
       the time permitted for us to respond or if your action does not result in a judicial order protecting us from supplying requested
       information, we may construe your inaction or failure as consent to comply with the request. If this occurs, our efforts in
       complying with such requests or demands will be deemed a part of this engagement and we shall be entitled to additional
       compensation for our time and reimbursement for our out-of-pocket expenditures (including legal fees) in complying with
       such request or demand.
       Regulatory Access to Documentation
       The documents created or incorporated into our documentation for this engagement are the property of Moss Adams and
       constitute confidential information. However, we may be requested to make certain engagement related documents
       available to regulatory agencies pursuant to authority given to them by law or regulation. If requested and in our opinion a
       response is required by law, access to such engagement related documents will be provided under the supervision of Moss
       Adams personnel. Furthermore, upon request, we may provide photocopies of selected engagement related documents to
       regulatory agencies. The regulatory agencies may intend, or decide, to distribute the photocopies or information contained
       therein to others, including other government agencies.
       Document Retention Policy
       At the conclusion of this engagement, we will return to you all original records you supplied to us. Your Company records
       are the primary records for your operations and comprise the backup and support for the results of this engagement. Our
       records and files, including our engagement documentation whether kept on paper or electronic media, are our property
       and are not a substitute for your own records. Our firm policy calls for us to destroy our engagement files and all pertinent
       engagement documentation after a retention period of seven years (or longer, if required by law or regulation), after which
       time these items will no longer be available. We are under no obligation to notify you regarding the destruction of our
DocuSign Envelope ID: 5DE797A0-5D95-4298-9EC8-84B6033038A6
                           Case 23-10961-BLS              Doc 260-1        Filed 09/01/23         Page 41 of 52
                                                                                                           Professional Services Agreement
                                                                                                                                Page 4 of 5



       records. We reserve the right to modify the retention period without notifying you. Catastrophic events or physical
       deterioration may result in our firm’s records being unavailable before the expiration of the above retention period.
       Except as set forth above, you agree that Moss Adams may destroy paper originals and copies of any documents, including,
       without limitation, correspondence, agreements, and representation letters, and retain only digital images thereof.
       Use of Electronic Communication
       In the interest of facilitating our services to you, we may communicate by facsimile transmission or send electronic mail
       over the Internet. Such communications may include information that is confidential. We employ measures in the use of
       electronic communications designed to provide reasonable assurance that data security is maintained. While we will use
       our best efforts to keep such communications secure in accordance with our obligations under applicable laws and
       professional standards, you recognize and accept we have no control over the unauthorized interception of these
       communications once they have been sent. Unless you issue specific instructions to do otherwise, we will assume you
       consent to our use of electronic communications to your representatives and other use of these electronic devices during
       the term of this Agreement as we deem appropriate.
       Enforceability
       In the event that any portion of this Agreement is deemed invalid or unenforceable, said finding shall not operate to
       invalidate the remainder of the Agreement.
       Entire Agreement
       This Agreement constitute the entire agreement and understanding between Moss Adams and the Company. The Company
       agrees that in entering into this Agreement it is not relying and has not relied upon any oral or other representations, promise
       or statement made by anyone which is not set forth herein.
       Use of Moss Adams’ Name
       The Company may not use any of Moss Adams’ name, trademarks, service marks or logo in connection with the services
       contemplated by this Agreement or otherwise without the prior written consent of Moss Adams, which consent may be
       withheld for any or no reason and may be subject to certain conditions.
       Use of Nonlicensed Personnel
       Certain engagement personnel who are not licensed as certified public accountants may provide services during this
       engagement.
       Use of Subcontractor and Affiliate
       We may retain subcontractors and/or our affiliate, Moss Adams (India) LLP, to assist us in providing our services to you.
       These entities may collect, use, transfer, store, or otherwise process information provided by you or on your behalf (“Client
       information”) in the domestic and foreign jurisdictions in which they operate. All of these entities are required to protect the
       confidentiality of any Client information to which they have access in the course of their work. We will be responsible for
       their performance in accordance with the terms of this Agreement.
       Dispute Resolution Procedure, Venue and Limitation Period
       This Agreement shall be governed by the laws of the state of Washington, without giving effect to any conflicts of laws
       principles. If a dispute arises out of or relates to the engagement described herein, and if the dispute cannot be settled
       through negotiations, the parties agree first to try in good faith to settle the dispute by mediation using an agreed upon
       mediator. If the parties are unable to agree on a mediator, the parties shall petition the state court that would have jurisdiction
       over this matter if litigation were to ensue and request the appointment of a mediator, and such appointment shall be binding
       on the parties. Each party shall be responsible for its own mediation expenses, and shall share equally in the mediator’s
       fees and expenses.
       Each party hereby irrevocably (a) consents to the exclusive jurisdiction and venue of the appropriate state or federal court
       located in King County, state of Washington, in connection with any dispute hereunder or the enforcement of any right or
       obligation hereunder, and (b) WAIVES ITS RIGHT TO A JURY TRIAL. EACH PARTY FURTHER AGREES THAT ANY
       SUIT ARISING OUT OF OR RELATED TO THIS AGREEMENT MUST BE FILED WITHIN ONE (1) YEAR AFTER THE
       CAUSE OF ACTION ARISES.
       Termination
       This Agreement may be terminated by either party, with or without cause, upon written notice. In such event, we will stop
       providing Services hereunder except on work, mutually agreed upon in writing. In the event of termination: (a) you shall pay
       us for Services provided and expenses incurred, (b) we will provide you with all finished reports that we have prepared
       pursuant to this Agreement, (c) neither party shall be liable to the other for any damages that occur as a result of our ceasing
DocuSign Envelope ID: 5DE797A0-5D95-4298-9EC8-84B6033038A6
                          Case 23-10961-BLS              Doc 260-1         Filed 09/01/23         Page 42 of 52
                                                                                                          Professional Services Agreement
                                                                                                                               Page 5 of 5



       to render Services, and (d) we will require any new accounting firm that you may retain to execute a letter satisfactory to
       Moss Adams.
       Additional Procedures Relating to Fraud
       We have advised you of the limitations of our review regarding the detection of fraud and the possible effect on the interim
       financial information (including misappropriation of cash or other assets). We will not design our engagement to detect
       errors or fraud unless they are material to the interim financial information. Errors and fraud are considered to be material
       only if their magnitude, individually or in aggregate, are such that a reasonable person relying on the presentation of your
       company’s interim financial information would be influenced by their inclusion or omission. Services specifically designed
       to detect fraud that are not material to your interim financial information are available at substantial additional cost. You
       have chosen not to engage us to perform these additional cost services.
       Hiring of Employees
       We have a significant investment in the training and development of our accountants, and they are valued employees of
       Moss Adams. If you should hire one of our accountants either during the audit or within one year after the completion of
       this engagement, you agree to pay a personnel placement fee based on current market conditions to compensate Moss
       Adams. Any offer of employment to members of the audit team prior to completion of our procedures may impair our
       independence, and as a result, may result in our inability to complete the engagement and issue a report.

       Mutual Waiver of COVID-19 Claims
       This provision addresses issues regarding the novel coronavirus (“COVID-19”). The Parties acknowledge their respective
       understanding of the hazards of COVID-19, including, but not limited to, its highly contagious nature and the corresponding
       health risks associated with being exposed to or infected by COVID-19. Each Party agrees to waive, release, discharge,
       and covenants not to sue the other Party or its affiliates and its and their respective officers, directors, partners, principals,
       employees, agents, or subcontractors from any and all claims, damages, expense, liability, illness or losses that may occur
       from exposure to or infection by COVID-19 arising out of, related to, or in any way connected with the professional services
       provided by Moss Adams.
                            Case 23-10961-BLS                    Doc 260-1      Filed 09/01/23           Page 43 of 52


Certificate Of Completion
Envelope Id: 5DE797A05D9542989EC884B6033038A6                                                         Status: Completed
Subject: Complete with DocuSign: Williams Industrial Services Group, Inc. - PCAOB General 193690 - June ...
Deltek Client Engagement Code (123456.XXXX): 193690
Office Location:
Dallas
Document Type: AS - Engagement Letter
Source Envelope:
Document Pages: 9                                  Signatures: 2                                      Envelope Originator:
Certificate Pages: 3                               Initials: 0                                        Sino Varghese
AutoNav: Enabled                                                                                      999 Third Avenue
EnvelopeId Stamping: Enabled                                                                          Suite 2800
Time Zone: (UTC-08:00) Pacific Time (US & Canada)                                                     Seattle, WA 98104
                                                                                                      Sino.Varghese@mossadams.com
                                                                                                      IP Address: 50.237.200.38

Record Tracking
Status: Original                                   Holder: Sino Varghese                              Location: DocuSign
         7/19/2023 12:22:16 PM                               Sino.Varghese@mossadams.com
Security Appliance Status: Connected               Pool: Security Pool

Signer Events                                      Signature                                          Timestamp
Randy Lay                                                                                             Sent: 7/19/2023 12:25:35 PM
rlay@wisgrp.com                                                                                       Viewed: 7/23/2023 6:39:28 AM
Chief Operating Officer                                                                               Signed: 7/23/2023 6:39:56 AM
Security Level: Email, Account Authentication
(None)                                             Signature Adoption: Pre-selected Style
                                                   Using IP Address: 75.69.110.178


Electronic Record and Signature Disclosure:
   Accepted: 7/23/2023 6:39:28 AM
   ID: a5b7ea88-cee0-471a-8e0c-a6eb54a530ee

Robert Mills                                                                                          Sent: 7/19/2023 12:25:36 PM
robert.bruce.mills@gmail.com                                                                          Viewed: 7/19/2023 2:31:10 PM
Security Level: Email, Account Authentication                                                         Signed: 7/19/2023 2:31:19 PM
(None)
                                                   Signature Adoption: Drawn on Device
                                                   Using IP Address: 73.112.70.56
                                                   Signed using mobile
Electronic Record and Signature Disclosure:
   Accepted: 7/19/2023 2:31:10 PM
   ID: 27c71096-a700-4a95-9cf7-84feb4147dac


In Person Signer Events                            Signature                                          Timestamp

Editor Delivery Events                             Status                                             Timestamp

Agent Delivery Events                              Status                                             Timestamp

Intermediary Delivery Events                       Status                                             Timestamp

Certified Delivery Events                          Status                                             Timestamp

Carbon Copy Events                                 Status                                             Timestamp

Witness Events                                     Signature                                          Timestamp
                      Case 23-10961-BLS       Doc 260-1   Filed 09/01/23     Page 44 of 52

Notary Events                        Signature                             Timestamp

Envelope Summary Events              Status                                Timestamps
Envelope Sent                        Hashed/Encrypted                      7/19/2023 12:25:36 PM
Certified Delivered                  Security Checked                      7/19/2023 2:31:10 PM
Signing Complete                     Security Checked                      7/19/2023 2:31:19 PM
Completed                            Security Checked                      7/23/2023 6:39:56 AM

Payment Events                       Status                                Timestamps
Electronic Record and Signature Disclosure
Electronic Record and Signature Disclosure created on: 11/4/2020 6:09:28 PM
                             Case 23-10961-BLS              Doc 260-1         Filed 09/01/23   Page 45 of 52
Parties agreed to: Randy Lay, Robert Mills




             CONSENT FOR USE OF ELECTRONIC SIGNATURES AND DOCUMENTS
             By selecting the "I Accept" button, you are signing this document electronically. You agree your
             electronic signature is the legal equivalent of your handwritten signature on this document. By
             selecting "I Accept" using any device, means or action, you consent to the legally binding terms
             and conditions of this document. You further agree that your signature on this document (your
             "E-Signature") is as valid as if you signed the document in writing. You also agree that no
             certification authority or other third party verification is necessary to validate your E-Signature,
             and that the lack of such certification or third party verification will not in any way affect the
             enforceability of your E-Signature or any resulting agreement between you and Moss Adams
             LLP. You are also confirming that you are authorized to sign this document. Finally, you
             understand and agree that your E-Signature will be legally binding and such transaction will be
             considered authorized by you.
DocuSign Envelope ID: CCA8107B-9F83-4950-A5E8-68117408373B
                          Case 23-10961-BLS            Doc 260-1     Filed 09/01/23       Page 46 of 52




               July 13, 2023

               Dawn Jenkins, Treasurer
               Williams Industrial Services Group, Inc.
               200 Ashford Center North, Suite 425
               Atlanta, GA 30338

               Re: Examination Services

               Dear Ms. Jenkins:

               Thank you for the opportunity to provide services to Williams Industrial Services Group, Inc. This
               engagement letter (“Engagement Letter”) and the attached Professional Services Agreement, which
               is incorporated by this reference, confirm our understanding of the terms and objectives of our
               engagement, and limitations of the services that Moss Adams LLP (“Moss Adams,” “we,” “us,” and
               “our”) will provide to Williams Industrial Services Group, Inc. (“you,” “your,” and “Company”).

               Scope of Services - Examination
               We will examine the payroll extract of Richmond County Constructors, LLC (RCC) Loaned
               Employees stating the amount of additives under billing of Williams Industrial Services Group, Inc.
               (“Subject Matter”) as of and for the period ended December 31, 2022. Our examination will be
               conducted in accordance with the attestation standards established by the American Institute of
               Certified Public Accountants. Accordingly, it will include tests of your records and other procedures
               we consider necessary to enable us to express an opinion in a written report about whether your
               Subject Matter is presented, in conformity with Payroll Additive in Section 4 of the Loaned Personnel
               Agreement with RCC, dated August 18, 2017 (“Criteria”) and the RCC Unanimous Written Consent of
               the Members of the Board dated October 26, 2020 (“Clarified Criteria Adjustment”) in all material
               respects. If, for any reason, we are unable to complete the examination, we will not issue a report as
               a result of this engagement.

               Because of the inherent limitations of an examination engagement, together with the inherent
               limitation of internal control, an unavoidable risk exists that some material misstatements may not be
               detected, even though the examination is properly planned and performed in accordance with
               attestation standards.

               Our report will be restricted as to is its use and is intended solely for the use of managers and
               management of Williams Industrial Services Group, Inc., Richmond County Constructions LLC, and
               Southern Nuclear pursuant to the administration of the aforementioned loaned personnel agreement
               and should not be used for any other purpose.
DocuSign Envelope ID: CCA8107B-9F83-4950-A5E8-68117408373B
                          Case 23-10961-BLS            Doc 260-1     Filed 09/01/23       Page 47 of 52


                                                                                                    Dawn Jenkins, Treasurer
                                                                                      Williams Industrial Services Group, Inc.
                                                                                                                 July 13, 2023
                                                                                                                   Page 2 of 4




               As a condition of our engagement, Company management acknowledges and understands that it is
               responsible for the preparation and fair presentation of the Subject Matter in accordance with the
               Criteria and the accuracy and completeness of that information. Company management agrees that
               as a condition of our engagement Company management will provide us with:

                  Access to all information of which Company management are aware that is relevant to the
                   measurement, evaluation, or disclosure of the Subject Matter;

                  Access to additional information that we may request from Company management for the
                   purpose of the engagement; and

                  Unrestricted access to persons within the appropriate party(ies) from whom we determine it
                   necessary to obtain evidence.

               We may advise you about appropriate Criteria or assist in the development of the Subject Matter, but
               the responsibility for the Subject Matter remains with you.

               At the conclusion of our engagement, we will require a representation letter from management that,
               among other things, will confirm management’s responsibility for the Subject Matter in accordance
               with the Criteria.

               Timing
               Pedro Gonzalez is responsible for supervising the engagement and authorizing the signing of our
               report. We expect to begin fieldwork on approximately August 17, 2023, complete fieldwork on
               approximately September 1, 2023, and issue our report no later than September 15, 2023. If
               unforeseen difficulties occur which make meeting the September 15, 2023 date improbable, we will
               inform you immediately. Our ability to meet these targets will be dependent, in part, on the level of
               preparation and cooperation by your staff.

               Our scheduling is based on your completion of all payroll additive calculations and the accumulation
               of all supporting documentation. Efficient use of our staff benefits both you and Moss Adams,
               allowing for timely completion of our work. We may experience delays in completing our services due
               to your staff’s unavailability or delays in preparing the required calculation reports and supporting
               documentation. We will work with you to coordinate completion of our work, realizing that any such
               delays will also delay completion of our work and the delivery of our work product. You understand
               our fees are subject to adjustment if we experience delays in completing our services. Our services
               will be concluded upon delivery to you of our examination report.
DocuSign Envelope ID: CCA8107B-9F83-4950-A5E8-68117408373B
                           Case 23-10961-BLS           Doc 260-1          Filed 09/01/23   Page 48 of 52


                                                                                                     Dawn Jenkins, Treasurer
                                                                                       Williams Industrial Services Group, Inc.
                                                                                                                  July 13, 2023
                                                                                                                    Page 3 of 4




               Fees
               Our fees will be based on the experience of the individuals involved and the amount of work
               performed. You will also be billed for expenses. The rates of the professionals who will be providing
               the services are as follows:

               See the following rate table below for individual rates.

                                                                FEES

                                    Staff Level                                        Hourly Rate

                         Partner                                                          $600

                         Manager                                                          $305

                         Senior Staff Member                                              $255


               Our invoices include a flat expense charge, calculated as five percent (5%) of fees, to cover
               expenses such as administrative billable time, report processing fees, filing fees, and technology
               expenses. Travel expenses and client meals/entertainment expenses will be billed separately and are
               not included in the 5% charge.

               Retainer
               Moss Adams and the Company agree that the Company (a) will provide us a “classic retainer” as
               defined in In re Production Associates, Ltd., 264 B.R. 180 (Bankr. N.D. Ill. 2001), and In re McDonald
               Bros. Construction, Inc., 114 B.R. 989 (Bankr. N.D. Ill. 1990), and (b) will replenish the classic
               retainer upon receiving invoices from Moss Adams so that the classic retainer amount remains at or
               above Moss Adams’ estimated fees and expenses expected to be accrued and unpaid by the
               Company between payment cycles. The classic retainer will be earned by Moss Adams upon receipt.

               The classic retainer will be placed into Moss Adams’ general cash account, will not be held in a
               separate account on your behalf, and you will not receive any interest on these monies. You have no
               interest in the classic retainer. For purposes of this engagement, the initial retainer amount shall be
               $125,000.

                                                        __________________

               This Engagement Letter and attached Professional Services Agreement constitute the entire
               agreement (the “Agreement”) and understanding between Moss Adams and the Company. The
               Company agrees that in entering into this Agreement it is not relying and has not relied upon any oral
               or other representation, promise or statement made by anyone which is not set forth herein.
DocuSign Envelope ID: CCA8107B-9F83-4950-A5E8-68117408373B
                            Case 23-10961-BLS          Doc 260-1     Filed 09/01/23      Page 49 of 52


                                                                                                   Dawn Jenkins, Treasurer
                                                                                     Williams Industrial Services Group, Inc.
                                                                                                                July 13, 2023
                                                                                                                  Page 4 of 4




               We appreciate the opportunity to be of service to you. If you agree with the terms of our engagement
               as set forth in this Agreement, please sign the enclosed copy of this Engagement Letter and return it
               to us with the Professional Services Agreement.

               Very truly yours,




               Pedro Gonzalez, Partner, for
               Moss Adams LLP

               Enclosures

               Accepted and Agreed:
               This Engagement Letter and the attached Professional Services Agreement set forth the entire
               understanding of Williams Industrial Services Group, Inc. with respect to review services to be
               provided by Moss Adams LLP:


               Authorized Signature:                               \ASAC1n\

               For the Audit Committee of Williams Industrial Services, Inc

                        7/19/2023
               Date:


               Accepted and Agreed:
               This Engagement Letter and the attached Professional Services Agreement set forth the entire
               understanding of Williams Industrial Services Group, Inc. with respect to this engagement and the
               services to be provided by Moss Adams LLP:



               Authorized Signature:                                  \OS1n\

               Print Name:

               Title:                                                 \OS1nT\

               Date:

               Client: #193690
               v. 9/7/2021
DocuSign Envelope ID: CCA8107B-9F83-4950-A5E8-68117408373B
                          Case 23-10961-BLS            Doc 260-1        Filed 09/01/23       Page 50 of 52
       PROFESSIONAL SERVICES AGREEMENT
       Examination Services


       This Professional Services Agreement (the “PSA”) together with the Engagement Letter, which is hereby incorporated by
       reference, represents the entire agreement (the “Agreement”) relating to services to be provided to the Company by Moss
       Adams. Any undefined terms in this PSA shall have the same meaning as set forth in the Engagement Letter.
       Objective of the Examination
       The objective of our examination is the expression of an opinion as stated in the Engagement Letter. Our examination will
       be conducted in accordance with the standards described in the Engagement Letter and will include tests of your records
       and other procedures we consider necessary to enable us to express such an opinion. We cannot provide assurance that
       an unmodified opinion will be expressed. Circumstances may arise in which it is necessary for us to modify our opinion. If
       our opinion is other than unmodified, we will discuss the reasons with you in advance. If, for any reason, we are unable to
       complete the examination or are unable to form or have not formed an opinion, we may decline to express an opinion or
       may withdraw from this engagement.
       Procedures and Limitations
       An examination includes examining evidence on a test basis and cannot be relied upon to disclose all material errors, or
       known or suspected fraud or noncompliance with laws or regulations or internal control deficiencies that may exist.
       Therefore, our examination will involve judgment about the number of transactions to be examined and the areas to be
       tested. Also, we will plan and perform the examination to obtain reasonable, but not absolute, assurance about whether
       your Subject Matter is presented in accordance with (or based on) the Criteria, in all material respects. A risk exists that
       we may not detect material misstatements because: (a) an examination is designed to provide reasonable, but not absolute,
       assurance the Subject Matter is fairly presented in all material respects, (b) we will not perform a detailed examination of
       all transactions as such is cost prohibitive, and (c) an examination is not designed to detect immaterial misstatements or
       violations of laws or governmental regulations that do not have a direct and material effect on the Subject Matter. However,
       we will inform you of any material errors, known or suspected fraud and non compliance with laws or regulations, internal
       controls deficiencies identified during the engagement, and uncorrected misstatements that come to our attention, unless
       clearly inconsequential. Our responsibility is limited to the period covered by our examination and does not extend to any
       time period for which we are not engaged as examiners.
       Changes in Professional or Accounting Standards
       To the extent that future federal, state, or professional rule-making activities require modification of our examination
       approach, procedures, scope of work, etc., we will advise you of such changes and the impact on our fee estimate. If we
       are unable to agree on the additional fees, if any, that may be required to implement any new accounting and examination
       standards that are required to be adopted and applied as part of our engagement, we may terminate this Agreement as
       provided herein, regardless of the stage of completion.
       Representations of Management
       During the course of our engagement, we may request information and explanations from management regarding, among
       other matters, the Company’s operations, internal control, future plans, specific transactions, and accounting systems and
       procedures. At the conclusion of our engagement, we will require, as a precondition to the issuance of our report, that
       management provide us with a written representation letter confirming some or all of the representations made during the
       engagement. The procedures we will perform in our engagement will be heavily influenced by the representations that we
       receive from management. While we may assist management in the preparation of the representation letter, it is
       management’s responsibility to carefully review and understand the representations made therein.
       Fees and Expenses
       Billings are due upon presentation and become delinquent if not paid within 30 days of the invoice date. Any past due fee
       under this Agreement shall bear interest at the highest rate allowed by law on any unpaid balance. In addition to fees, you
       may be billed for expenses and any applicable sales and gross receipts tax. Direct expenses may be charged based on
       out-of-pocket expenditures, per diem allotments, and mileage reimbursements, depending on the nature of the expense.
       Indirect expenses, such as processing time and technology expenses, may be passed through at our estimated cost and
       may be billed as a flat charge or a percentage of fees. If we elect to suspend our engagement for nonpayment, we may not
       resume our work until the account is paid in full. If we elect to terminate our services for nonpayment, or as otherwise
       provided in this Agreement, our engagement will be deemed to have been completed upon written notification of
       termination, even if we have not completed our work. You will be obligated to compensate us for fees earned for services
       rendered and to reimburse us for expenses. You acknowledge and agree that in the event we stop work or terminate this
       Agreement as a result of your failure to pay on a timely basis for services rendered by Moss Adams as provided in this
       Agreement, or if we terminate this Agreement for any other reason, we shall not be liable to you for any damages that occur
       as a result of our ceasing to render services.
DocuSign Envelope ID: CCA8107B-9F83-4950-A5E8-68117408373B
                           Case 23-10961-BLS              Doc 260-1        Filed 09/01/23         Page 51 of 52
                                                                                                           Professional Services Agreement
                                                                                                                      Examination Services
                                                                                                                                Page 2 of 3


       Limitation on Liability
       IN NO EVENT WILL EITHER PARTY BE LIABLE TO THE OTHER FOR ANY SPECIAL, INDIRECT, INCIDENTAL, OR
       CONSEQUENTIAL DAMAGES IN CONNECTION WITH OR OTHERWISE ARISING OUT OF THIS AGREEMENT, EVEN
       IF ADVISED OF THE POSSIBILITY OF SUCH DAMAGES. IN NO EVENT SHALL EITHER PARTY BE LIABLE FOR
       EXEMPLARY OR PUNITIVE DAMAGES ARISING OUT OF OR RELATED TO THIS AGREEMENT.
       Subpoena or Other Release of Documents
       As a result of our services to you, we may be required or requested to provide information or documents to you or a third-
       party in connection with governmental regulations or activities, or a legal, arbitration or administrative proceeding (including
       a grand jury investigation), in which we are not a party. You may, within the time permitted for our firm to respond to any
       request, initiate such legal action as you deem appropriate to protect information from discovery. If you take no action within
       the time permitted for us to respond or if your action does not result in a judicial order protecting us from supplying requested
       information, we will construe your inaction or failure as consent to comply with the request. Our efforts in complying with
       such requests or demands will be deemed a part of this engagement and we shall be entitled to additional compensation
       for our time and reimbursement for our out-of-pocket expenditures (including legal fees) in complying with such request or
       demand.
       Document Retention Policy
       At the conclusion of this engagement, we will return to you all original records you supplied to us. Your Company records
       are the primary records for your operations and comprise the backup and support for the results of this engagement. Our
       records and files, including our engagement documentation whether kept on paper or electronic media, are our property
       and are not a substitute for your own records. Our firm policy calls for us to destroy our engagement files and all pertinent
       engagement documentation after a retention period of seven years (or longer, if required by law or regulation), after which
       time these items will no longer be available. We are under no obligation to notify you regarding the destruction of our
       records. We reserve the right to modify the retention period without notifying you. Catastrophic events or physical
       deterioration may result in our firm’s records being unavailable before the expiration of the above retention period.
       Except as set forth above, you agree that Moss Adams may destroy paper originals and copies of any documents, including,
       without limitation, correspondence, agreements, and representation letters, and retain only digital images thereof.
       Use of Electronic Communication
       In the interest of facilitating our services to you, we may communicate by facsimile transmission or send electronic mail
       over the Internet. Such communications may include information that is confidential. We employ measures in the use of
       electronic communications designed to provide reasonable assurance that data security is maintained. While we will use
       our best efforts to keep such communications secure in accordance with our obligations under applicable laws and
       professional standards, you recognize and accept we have no control over the unauthorized interception of these
       communications once they have been sent. Unless you issue specific instructions to do otherwise, we will assume you
       consent to our use of electronic communications to your representatives and other use of these electronic devices during
       the term of this Agreement as we deem appropriate.
       Enforceability
       In the event that any portion of this Agreement is deemed invalid or unenforceable, said finding shall not operate to
       invalidate the remainder of this Agreement.
       Entire Agreement
       This Professional Services Agreement and Engagement Letter constitute the entire agreement and understanding between
       Moss Adams and the Company. The Company agrees that in entering into this Agreement it is not relying and has not
       relied upon any oral or other representations, promise or statement made by anyone which is not set forth herein.
       Use of Moss Adams’ Name
       The Company may not use any of Moss Adams’ name, trademarks, service marks or logos in connection with the services
       contemplated by this Agreement or otherwise without the prior written permission of Moss Adams, which permission may
       be withheld for any or no reason and may be subject to certain conditions.
       Dispute Resolution Procedure, Venue and Limitation Period
       This Agreement shall be governed by the laws of the state of Washington, without giving effect to any conflicts of laws
       principles. If a dispute arises out of or relates to the engagement described herein, and if the dispute cannot be settled
       through negotiations, the parties agree first to try in good faith to settle the dispute by mediation using an agreed upon
       mediator. If the parties are unable to agree on a mediator, the parties shall petition the state court that would have jurisdiction
       over this matter if litigation were to ensue and request the appointment of a mediator, and such appointment shall be binding
DocuSign Envelope ID: CCA8107B-9F83-4950-A5E8-68117408373B
                          Case 23-10961-BLS              Doc 260-1         Filed 09/01/23         Page 52 of 52
                                                                                                          Professional Services Agreement
                                                                                                                     Examination Services
                                                                                                                               Page 3 of 3


       on the parties. Each party shall be responsible for its own mediation expenses, and shall share equally in the mediator’s
       fees and expenses.
       Each party hereby irrevocably (a) consents to the exclusive jurisdiction and venue of the appropriate state or federal court
       located in King County, state of Washington, in connection with any dispute hereunder or the enforcement of any right or
       obligation hereunder, and (b) WAIVES ITS RIGHT TO A JURY TRIAL. EACH PARTY FURTHER AGREES THAT ANY
       SUIT ARISING OUT OF OR RELATED TO THIS AGREEMENT MUST BE FILED WITHIN ONE (1) YEAR AFTER THE
       CAUSE OF ACTION ARISES.
       Termination
       This Agreement may be terminated by any party, with or without cause, upon ten (10) days’ written notice. In such event,
       we will stop providing services hereunder except on work, mutually agreed upon in writing, necessary to carry out such
       termination. In the event of termination: (a) you shall pay us for services provided and expenses incurred through the
       effective date of termination, (b) we will provide you with all finished reports that we have prepared pursuant to this
       Agreement, and (c) neither party shall be liable to the other for any damages that occur as a result of our ceasing to render
       services.
       Use of Nonlicensed Personnel
       Certain engagement personnel who are not licensed as certified public accountants may provide services during this
       engagement.
       Regulatory Access to Documentation
       The documents created or incorporated into our documentation for this engagement are the property of Moss Adams and
       constitute confidential information. However, we may be requested to make certain engagement related documents
       available to regulatory agencies pursuant to authority given to them by law or regulation. If requested and in our opinion a
       response is required by law, access to such engagement related documents will be provided under the supervision of Moss
       Adams personnel. Furthermore, upon request, we may provide photocopies of selected engagement related documents to
       regulatory agencies. The regulatory agencies may intend or decide to distribute the photocopies or information contained
       therein to others, including other government agencies.
       Hiring of Employees
       We have a significant investment in the training and development of our accountants, and they are valued employees of
       Moss Adams. If you should hire one of our accountants either during the audit or within one year after the completion of
       this engagement, you agree to pay a personnel placement fee based on current market conditions to compensate Moss
       Adams. Any offer of employment to members of the audit team prior to completion of our procedures may impair our
       independence, and as a result, may result in our inability to complete the engagement and issue a report.

       Mutual Waiver of COVID-19 Claims
       This provision addresses issues regarding the novel coronavirus (“COVID-19”). The Parties acknowledge their respective
       understanding of the hazards of COVID-19, including, but not limited to, its highly contagious nature and the corresponding
       health risks associated with being exposed to or infected by COVID-19. Each Party agrees to waive, release, discharge,
       and covenants not to sue the other Party or its affiliates and its and their respective officers, directors, partners, principals,
       employees, agents, or subcontractors from any and all claims, damages, expense, liability, illness or losses that may occur
       from exposure to or infection by COVID-19 arising out of, related to, or in any way connected with the professional services
       provided by Moss Adams.
